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                                           September 30, 2016

   The Honorable Mary Pat Thynge                                         REDACTED PUBLIC VERSION
   United States District Court
   844 N. King Street
   Wilmington, DE 19801

            Re:     Cornell University, et al. v. Illumina, Inc., C.A. No. 10-433-LPS-MPT

   Dear Judge Thynge:

           Illumina hereby responds to Plaintiffs’ September 29, 2016 letter-brief in the above case
   (D.I. 492). At the heart of Plaintiffs’ motion is a desire to have a lopsided trial where Plaintiffs
   can offer testimony from their own patent attorney, Michael Goldman, who prosecuted the ’470
   Patent family, but Illumina has no opportunity to respond with its own witness. In particular,
   Plaintiffs want to preserve their ability to offer Mr. Goldman on aspects of patent office practice
   and procedure, specifically, on a “Rule 131 declaration,” but to preclude Illumina from
   presenting testimony on these specialized aspects of patent office practice and procedure.

           Illumina tried to obviate this dispute by offering a compromise that neither party would
   offer patent law testimony. Plaintiffs refused. Pls. Ex. H. Indeed, Plaintiffs refused to stipulate
   even as to the meaning of the Rule 131 declaration in the case, preserving instead their right to
   put on patent law testimony on the subject while seeking to bar Illumina from responding in
   kind. Id. Plaintiffs thus overtly take the position that patent law testimony is relevant and
   necessary in this case, and seek, through their motion, to tilt the playing field so that they, and
   only they, can put on such testimony. Plaintiffs’ suggestion that Illumina can simply respond by
   cross-examining Plaintiffs’ patent attorney does nothing to level the playing field, but instead
   further confirms Plaintiffs’ lopsided position. None of the cases cited by Plaintiffs supports such
   an unfair result, and Plaintiffs’ motion should be denied.1 Plaintiffs appear to believe that they
   can draw a distinction between their witness and Illumina’s witness by labeling their prosecuting
   attorney as a fact witness and Illumina’s attorney-witness as an expert witness. However, it is a
   distinction without a difference, as both witnesses would offer testimony on the same subject,
   and the interests of fairness require that the jury either be permitted to hear from both witnesses
   or neither witness.




   1
    To be sure, the Court may ultimately decide that no patent law testimony is appropriate.
   However, that is not the basis of Plaintiffs’ motion, which instead attempts to preserve Plaintiffs’
   ability to introduce such testimony while precluding Illumina from doing so.


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   I.       Testimony Concerning Patent Office Practice and Procedure Regarding Rule 131
            Declarations Will Assist the Trier of Fact.

          The issue on which Illumina may seek to offer expert testimony concerns U.S. Patent and
   Trademark Office (“PTO”) practice and procedure concerning, in particular, a Rule 131
   declaration. This issue arises in the context of the ’470 Patent, where the applicants relied on a
   Rule 131 declaration to overcome rejections based on the Zhang and Carrino references. The
   Examiner rejected the pending claims over the Zhang and Carrino references. Ex. 1, September
   11, 2003 Rejection [C001147-53]. The applicants did not attempt to distinguish Zhang or
   Carrino, but instead responded by submitting a declaration pursuant to 37 C.F.R. § 1.131 (a
   “Rule 131 declaration”), which permits an applicant to assert he “invented”—that is, conceived
   and reduced to practice—the claimed subject matter before a prior art reference’s publication
   dates. See Ex. 2, Rule 131 declaration [C001261-74]; Ex. 3, Manual of Patent Examination
   Procedure (“MPEP”) § 715. The Examiner subsequently allowed the ‘470 Patent application
   without further prosecution, presumably due to a finding that the applicants’ Rule 131
   declaration created an earlier priority date and thus disqualified the Zhang and Carrino references
   from being prior art. Ex. 4, February 23, 2004 Notice of Allowability [C001279-81].

           Plaintiffs have indicated that they may attempt to offer evidence that the Zhang or
   Carrino references were considered on the merits by the PTO. The MPEP’s guidelines for a
   Rule 131 declaration, and how the Rule 131 declaration would be understood by an Examiner,
   provide necessary context to these assertions. These issues are factual in nature, and the jury
   would likely benefit from additional guidance in this arcane area of PTO practice and procedure.
   See, e.g., Trading Techs. Int’l, Inc. v. eSpeed, Inc., 595 F.3d 1340, 1360 (Fed. Cir. 2010) (“Larry
   Nixon testified generally about the written description requirement and did not offer legal
   conclusions as to the adequacy of the provisional application’s disclosure. While offering general
   opinions on patent practices, he did not usurp the district court’s role of instructing the jury on
   the law. Therefore, the district court did not abuse its discretion by permitting his testimony.”);
   see also Fed. R. Evid. 702.

   II.      The Unique Circumstances of this Case Warrant Specialized Testimony About Patent
            Office Practices and Procedures.

           Illumina recognizes that patent expert testimony is generally disfavored in this District,
   but submits that this case provides unusual circumstances that warrant such testimony. First, in
   no case cited by Plaintiffs does it appear that the court precluded testimony from one side’s
   patent expert, while at the same time permitting testimony from the other side’s patent attorney.
   Such an imbalance, which Plaintiffs seek to preserve here, would be prejudicial and finds no
   support in this Court’s jurisprudence.

          Second, the testimony that Illumina would propose to offer would be factual testimony
   addressing a specialized procedure before the PTO. As Plaintiffs acknowledge, patent experts
   have been permitted to offer testimony as to PTO practice and procedure. See Pls. Ex. G;
   Brigham & Women’s Hosp. Inc. v. Teva Pharm. USA, Inc., C.A. No. 08-464, 2010 WL 3907490,



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          In the circumstances of this case, where Plaintiffs may call their patent attorney to offer
   testimony on PTO practice and procedures, Illumina respectfully submits that it should be
   permitted the opportunity to provide rebuttal evidence, including testimony from a witness about
   PTO practice and procedures.

            For the forgoing reasons, Plaintiffs’ motion should be denied.


                                                     Respectfully,

                                                     /s/ Steven J. Balick

                                                     Steven J. Balick (#2114)

   SJB: nlm

   cc:      John W. Shaw, Esquire (via electronic mail)
            Matthew A. Pearson, Esquire (via electronic mail)
            Rachel J. Elsby, Esquire (via electronic mail)




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                     EXHIBIT 1
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                      EXHIBIT 3
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                                          U.S. DEPARTMENT OF COMMERCE
                                             U.S. Patent and Trademark Office
                                                Washington, DC 20231


                                MANUAL OF PATENT EXAMINING PROCEDURE
                                             Eighth Edition

                                          Instructions Regarding Revision No. 1


      This revision incorporates the changes necessitated by the Intellectual Property and High Technology
      Technical Amendments Act of 2002 (Pub. L. 107-273, 116 Stat. 1758 (2002)) and the following final rules:

               (1) “Legal Processes,” which became effective on September 12, 2001;
               (2) “Requirements for Claiming the Benefit of Prior-Filed Applications Under Eighteen-Month
      Publication of Patent Applications,” which became effective on December 28, 2001;
               (3) “Revision of the Time Limit for National Stage Commencement in the United States for Patent
      Cooperation Treaty Applications,” which became effective on April 1, 2002;
               (4) “Amendment of Rule Regarding Filing of Trademark Correspondence via ‘Express Mail’,”
      which became effective on June 24, 2002;
               (5) “Correspondence With the United States Patent and Trademark Office,” which became
      effective on December 30, 2002; and
               (6) “Revision of Patent and Trademark Fess for Fiscal Year 2003,” which became effective on
      January 1, 2003.

      It is noted that the discussion of 35 U.S.C. 102(e) in Chapters 700, 1800 and 2100 has been revised to
      incorporate 35 U.S.C. 102(e), as amended by the Intellectual Property and High Technology Technical
      Amendments Act of 2002. However, the discussion of 35 U.S.C. 102(e) in the remaining Chapters of the
      Manual (i.e., Chapters 800, 900, 1500 and 2200) has not yet been updated to incorporate revised 35 U.S.C.
      102(e). These remaining Chapters will be updated in the next revision of the Manual. When using these
      Chapters where 35 U.S.C. 102(e) has not yet been updated, users of the Manual should refer to Chapters
      700, 1800 and 2100 for the revised 35 U.S.C. 102(e) as amended by the Intellectual Property and High
      Technology Technical Amendments Act of 2002.

      This revision consists of replacement pages for the Title Page in the front of the Manual, entire Chapters
      200, 700, 1800, and 2100, Appendices II – List of Decisions Cited, L – Patent Laws, R – Patent Rules,
      T – Patent Cooperation Treaty, and AI – Administrative Instructions Under the PCT, and entire
      Index.

      Pages which have been printed in this revision are labeled as “Rev. 1” on the bottom. Sections of the
      Manual which have been changed by this revision are indicated by “[R-1]” after the section title.

      Additions to the text of the Manual are indicated by arrows (><) inserted in the text. Deletions are
      indicated by a single asterisk (*) where a single word was deleted and by two asterisks (**) where more
      than one word was deleted. The use of three or five asterisks in the body of the laws and rules indicates a
      portion of the law or rule which was not reproduced.



                                                   Magdalen Y. C. Greenlief, Editor
                                                   Manual of Patent Examining Procedure




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      700-1 through 700-256              700-1 through 700-276
      1800-1 through 1800-158            1800-1 through 1800-168
      2100-1 through 2100-220            2100-1 through 2100-226

      A-7 through A-46                   A-7 through A-48
      L-1 through L-84                   L-1 through L-84
      R-1 through R-320                  R-1 through R-322
      T-1 through T-124                  T-1 through T-126
      AI-1 through AI-96                 AI-1 through AI-112
      I-1 through I-118                  I-1 through I-94




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      Particular attention is called to the changes in the following sections:


      CHAPTER 200:

      201            Revised to add the definition of a “national” application as a U.S.
                     application which was either filed in the Office under 35 U.S.C. 111, or
                     which entered the national stage from an international application after
                     compliance with 35 U.S.C. 371.

      201.03         Revised to delete the requirement that second attempts to correct
                     inventorship be decided by the TC Director. Also revised to clarify that an
                     error in inventorship of a provisional application would not require
                     correction so long as a nonprovisional application naming the correct
                     inventorship would contain an overlap of at least one inventor with the
                     provisional application. Form paragraphs have been revised.

      201.06         The title of this section has been changed to read, “Divisional
                     Application.”

      201.06(c)      Revised to reflect deletion of 37 CFR 1.494 and amendments to 37 CFR
                     1.495. Also revised to indicate that any application that will be published
                     pursuant to 35 U.S.C. 122(b) (pre-grant publication), including any
                     continuation or divisional application, should be filed with the
                     specification, claims and drawings that applicant would like to have
                     published because changes made by a preliminary amendment will
                     generally not be reflected in the patent application publication, even if the
                     preliminary amendment is referred to in the oath or declaration. Also
                     revised to clarify that when a benefit claim to a prior application is added
                     after the filing date, the prior application cannot be incorporated by
                     reference since this would add new matter.

      201.06(d)      Revised to reflect amendments to 37 CFR 1.78. Form paragraphs 2.36 and
                     2.37 have been deleted.

      201.07         Revised to indicate that a continuation application must claim the benefit
                     of the prior nonprovisional application under 35 U.S.C. 120 or 365(c).

      201.08         Revised to indicate that a continuation-in-part application must claim the
                     benefit of the prior nonprovisional application under 35 U.S.C. 120 or
                     365(c).

      201.11         The title of this section has been changed to read, “Continuity Between
                     Applications: The Benefit of an Earlier Filing Date.” Revised to reflect
                     amendments to 37 CFR 1.78. Added a new subsection to clarify that a



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                  claim in an application is entitled to the benefit of the filing date of an
                  earlier provisional or nonprovisional application only if the earlier
                  application provides an enabling disclosure of the subject matter of the
                  claim under 35 U.S.C. 112, first paragraph. New subsections have been
                  added to address the requirements of a specific reference to a prior
                  application for which benefit is claimed. If benefit is claimed under 35
                  U.S.C. 120, 121 or 365(c), the specific reference to a prior nonprovisional
                  application(s) must set forth the relationship (i.e., “continuation,”
                  “divisional” or “continuation-in-part”) between each application except
                  when the reference is to a prior application of a continued prosecution
                  application having the same application number. Form paragraphs have
                  been revised.

      201.11(a)   Revised to reflect deletion of 37 CFR 1.494 and amendments to 37 CFR
                  1.495.

      201.13      Revised to reflect amendments to 37 CFR 1.55. Revised to update the list
                  of countries with respect to which the right of priority under 35 U.S.C.
                  119(a)-(d) has been recognized.

      201.13(b)   Revised to reflect that 37 CFR 1.78(a)(2) no longer requires that the first
                  sentence of a specification claiming the benefit of an earlier-filed
                  international application indicate whether the international application was
                  published in English.

      201.14(a)   Revised to reflect amendments to 37 CFR 1.55. Form paragraph 2.21.01
                  has been revised.

      201.14(c)   Form paragraphs have been revised.

      202.01      Revised to reflect amendments to 37 CFR 1.78.


      CHAPTER 700:

      704.14(a)   Form paragraphs have been revised.

      706.02      Revised to reflect amendment to 35 U.S.C. 102(e) and added a new
                  subsection to address reliance upon abstracts and foreign language
                  documents in support of a rejection.

      706.02(a)   The discussion of 35 U.S.C. 102(e) has been revised to reflect 35 U.S.C.
                  102(e) as amended by the Intellectual Property and High Technology
                  Technical Amendments Act of 2002 (Pub. L. 107-273, 116 Stat. 1758
                  (2002)) and to indicate that revised 35 U.S.C. 102(e) applies in the



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                     examination of all applications, whenever filed, and the reexamination of,
                     or other proceedings to contest, all patents. The filing date of the
                     application being examined is no longer relevant in determining what
                     version of 35 U.S.C. 102(e) to apply in determining the patentability of
                     that application, or the patent resulting from that application.

      706.02(b)      Revised to reflect amendments to 37 CFR 1.55 and 1.78. Revised item
                     (C) regarding how to overcome a rejection based on 35 U.S.C. 102(a) to
                     be consistent with item (D) regarding how to overcome a rejection based
                     on 35 U.S.C. 102(e).

      706.02(f)      The material that was in this section has been moved to MPEP
                     § 706.02(f)(2). MPEP § 706.02(f) now addresses rejection under 35
                     U.S.C. 102(e) and reflects amendment to 35 U.S.C. 102(e).

      706.02(f)(1)   Added new section to set forth the examination guidelines for applying
                     references under 35 U.S.C. 102(e).

      706.02(f)(2)   Material from former MPEP § 706.02(f) has been moved to this new
                     section. Form paragraphs have been revised.

      706.02(i)      Form paragraphs have been revised.

      706.02(k)      Revised to indicate that the amendment to 35 U.S.C. 102(e) in the
                     Intellectual Property and High Technology Technical Amendments Act of
                     2002 did not affect the exclusion under 35 U.S.C. 103(c) as amended on
                     November 29, 1999.

      706.02(l)(1)   Revised to indicate that the amendment to 35 U.S.C. 102(e) in the
                     Intellectual Property and High Technology Technical Amendments Act of
                     2002 did not affect the exclusion under 35 U.S.C. 103(c) as amended on
                     November 29, 1999.

      706.02(l)(3)   Revised to add a reference to MPEP § 706.07(a) as to when it is proper to
                     make an office action final.

      706.02(m)      Form paragraphs have been revised.

      706.03(a)      Form paragraph has been revised.

      706.03(c)      Form paragraphs have been revised.

      706.03(d)      Form paragraphs have been revised.

      706.04         Added reference to recent court decision.



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      706.07      Form paragraph has been revised.

      706.07(a)   Revised to indicate that a second or any subsequent action on the merits in
                  any application or patent involved in reexamination proceedings may not
                  be made final if it contains a new ground of rejection necessitated by the
                  amendments to 35 U.S.C. 102(e) by the Intellectual Property and High
                  Technology Technical Amendments Act of 2002, unless the new ground
                  of rejection was necessitated by an amendment to the claims or as a result
                  of an IDS submitted under 37 CFR 1.97(c) with the fee under 37 CFR
                  1.17(p).

      706.07(b)   Revised to indicate that a first Office action in a continuing or substitute
                  application may not be made final if it contains a new ground of rejection
                  necessitated by the amendments to 35 U.S.C. 102(e) by the Intellectual
                  Property and High Technology Technical Amendments Act of 2002.

      706.07(f)   Revised to indicate that where the last day of the 2 months from the date
                  of the final rejection falls on a Saturday, Sunday or a Federal holiday
                  within the District of Columbia and a reply is filed on the next succeeding
                  business day pursuant to 37 CFR 1.7(a), the reply is deemed to have been
                  filed within the 2 months period.

      706.07(h)   Revised to correct the reference to 35 U.S.C. 132. Form paragraph
                  7.42.13 has been revised. Item 16 of the comparison chart has been
                  revised to delete the reference to 35 U.S.C. 102(e).

      707.05      Revised to add a reference to MPEP § 707.05(e) regarding data used in
                  citing references.

      707.05(b)   Revised to indicate that MPEP § 609 sets forth guidelines for applicants to
                  submit prior art to the Office.

      707.05(d)   Revised to correct the spelling of “initialed.”

      707.05(e)   Revised to indicate that Defensive Publications and SIRs should be cited
                  under the section “U.S. Patent Documents” on the 892 form. Also revised
                  to indicate that abstracts, abbreviatures, Alien Property Custodian
                  publications, withdrawn U.S. patents, withdrawn U.S. patent application
                  publications and other non-patent documents should be cited under the
                  section “Non-Patent Documents” on the 892 form. Examples as to how
                  withdrawn U.S. patents and withdrawn U.S. patent application
                  publications should be cited have been added.




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      707.07(f)   Revised to indicate that in order to provide a complete application file
                  history and to enhance the clarity of the prosecution history record, the
                  examiner must provide clear explanations of all actions taken by the
                  examiner during prosecution of the application. That is, if applicant’s
                  arguments are persuasive and upon reconsideration, the examiner
                  determines that the previous rejection should be withdrawn, the examiner
                  must provide in the next Office communication the reasons why the
                  previous rejection is withdrawn. New form paragraphs 7.38.01 and
                  7.38.02 have been added.

      708.02      Subsection VI. has been revised to add hydrogen fuel technologies as an
                  example of inventions which materially contribute to the discovery or
                  development of energy resources.

      709         Revised to reflect amendment to 37 CFR 1.103. The last sentence of
                  subsection B. regarding when the period of suspension will start for a CPA
                  and RCE has been deleted. Form paragraph 7.56.01 has been added to
                  subsection B. under the heading “Improper Request for Suspension.” The
                  discussion of suspension of action at the initiative of the Office has been
                  revised.

      709.01      Revised to add a reference to MPEP § 2315.01.

      711.02      Form paragraph has been revised.

      711.03(c)   The discussion regarding terminal disclaimers in subsection G. has been
                  revised to indicate that a terminal disclaimer is also required for a utility or
                  plant application filed on or after June 8, 1995, but before May 29, 2000,
                  where the application became abandoned during appeal, interference, or
                  while under a secrecy order.

      711.04(a)   Revised to correct the spelling of “Interferences.”

      713.01      An “Applicant Initiated Interview Request” form (PTOL-413A) has been
                  added for use by the applicant where the interview is initiated by the
                  applicant. The form should be filled out by the applicant and submitted to
                  the examiner prior to the interview in order to permit the examiner to
                  prepare in advance for the interview and to focus on the issues to be
                  discussed.

      713.02      Revised to correct the spelling of “counselor.”

      713.04      The Interview Summary form PTOL 413 has been revised to delete the
                  box located at the bottom of the form so that examiners will no longer be
                  permitted to check the box to inform applicant that it was not necessary for



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                  the applicant to supplement the form by submitting a separate record of the
                  substance of the interview. Effective immediately, pursuant to 37 CFR
                  1.133(b), it is the responsibility of the applicant or the attorney or agent to
                  make the substance of an interview of record in the application file except
                  where the interview was initiated by the examiner and the examiner
                  indicated on the “Examiner Initiated Interview Summary” form, PTOL-
                  413B, that the examiner will provide a written summary. “Examiner
                  Initiated Interview Summary” form, PTOL-413B has been added.

      714         The revised manner of making amendments which became effective on
                  January 31, 2003 has been added. All applicants including applicants
                  participating in the Office’s electronic file wrapper prototype may submit
                  amendments in reply to Office actions using the revised format. The
                  provisions of 37 CFR 1.121(a), (b), (c), and (d) are waived for
                  amendments to the claims, specification, and drawings in all applications
                  where the amendments comply with the revised amendment format.

      714.13      Form paragraphs have been revised.

      714.16(d)   Form paragraph has been revised.

      715         Revised to indicate that if a country joined the WTO after January 1, 1996,
                  the effective date for proving inventive activity in that country for the
                  purpose of 35 U.S.C. 104 and 37 CFR 1.131 is the date the country
                  becomes a member of WTO. A reference to MPEP § 201.13 has been
                  added to show the list of WTO member countries. Also revised to indicate
                  that U.S. patents, U.S. patent application publications and certain
                  international application publications are available as prior art under 35
                  U.S.C. 102(e).

      716.02(d)   Revised to add discussion of recent Federal Circuit decision.

      719.02      Revised to add discussion as to how errors in any of the data originally
                  entered on the file wrapper should be corrected for different series
                  applications.

      719.05      Revised to correct the spelling of “additional” and to change
                  “SEARCHED NOTES” to “SEARCH NOTES.”


      CHAPTER 1800:

      1801        Revised to indicate that PCT Article 22(1) was amended, effective April 1,
                  2002, to specify that a copy of the international application, a translation
                  thereof (as prescribed), and the national fee are due to the designated



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                  Office not later than at the expiration of 30 months from the priority date.
                  Also revised to indicate that in those countries whose national laws are not
                  compatible with the 30 month period now set forth in PCT Article 22(1),
                  the filing of a demand for an international preliminary examination
                  electing such countries within 19 months from the priority date will result
                  in an extension of the period for entering the national stage to 30 months
                  from the priority date. Revised to indicate that a listing of all national and
                  regional offices, and the corresponding time limits for entering the
                  national stage after PCT Chapter I and PCT Chapter II, may be found on
                  WIPO’s web site at: http://www.wipo.int/pct/en/index.html. Revised to
                  indicate that the European Patent Office is no longer competent to act as
                  an International Searching Authority for certain international applications
                  filed by nationals or residents of the United States.

      1817        Revised to indicate that Romania, Hungary, Bulgaria, Czech Republic,
                  Slovakia, Slovenia, and Estonia are members of the European Patent
                  Convention (EPC) regional patent system. Also revised to add Tunisia,
                  Saint Vincent and the Grenadines, Seychelles, and Nicaragua as PCT
                  Member States. Revised to add Sierra Leone, United Republic of
                  Tanzania, Mozambique, and Zambia as members of the African Regional
                  Industrial Property Organization and to indicate that Swaziland can only
                  be designated for the purposes of an ARIPO patent and not for the
                  purposes of a national patent, and that all other PCT Contracting States
                  which are also party to the Harare Protocol can be designated either for a
                  national or an ARIPO patent, or both a national and an ARIPO patent.
                  Revised to indicate that all PCT Contracting States which are also party to
                  the Eurasian Patent Convention can be designated either for a national or a
                  Eurasian patent, or both a national and a Eurasian patent. Note, however,
                  that it is not possible to designate only some of these States for a Eurasian
                  patent and that any designation of one or more States for a Eurasian patent
                  will be treated as a designation of all the States which are party to both the
                  Convention and the PCT for a Eurasian patent.

      1823.02     Revised to indicate that the European Patent Office (EPO) no longer
                  searches or examines international applications filed by a resident or
                  national of the United States if one or more claims relates to the field of
                  biotechnology. Also revised to include guidelines for submitting tables
                  related to sequence listings on CD rather than on paper.

      1824        Revised to indicate that paragraph numbers (e.g., paragraph numbers
                  complying with 37 CFR 1.52(b)(6)) are acceptable provided they are not
                  placed in the margins.




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      1828        Revised to indicate that a notice correcting or adding a priority claim may
                  in any event be submitted until the expiration of 4 months from the
                  international filing date.

      1840        Revised to indicate the USPTO, as an International Searching Authority,
                  has agreed to conduct international searches and prepare international
                  search reports for the Philippines and Saint Lucia. Also revised to indicate
                  that for international applications filed by residents and nationals of the
                  U.S., the European Patent Office is not competent to perform the
                  international search if one or more claims relates to the fields of
                  biotechnology or business methods. Revised to indicate the EPO will not
                  search any international application to the extent that it considers that the
                  international application relates to subject matter set forth in PCT Rule
                  39.1.

      1840.01     Revised to include content of the notice from the European Patent Office
                  dated November 26, 2001 limiting the EPO’s competence as a PCT
                  International Searching Authority (ISA) for international applications
                  containing one or more claims relating to the field of biotechnology or the
                  field of business methods. Also revised to indicate how international
                  applications containing claims relating to the field of biotechnology or the
                  field of business methods will be handled by the RO/US and ISA/EP.
                  Revised to indicate that the international search fee must be paid to the
                  receiving Office within one month from the time of filing the international
                  application.

      1842        Revised to include a new diagram showing the basic flow under the PCT
                  and to include a discussion of the diagram and time limits under the PCT.

      1850        Revised to indicate that Form PCT/ISA/206 may be used to invite the
                  applicant to pay additional search fees. Also revised to indicate that Form
                  PCT/ISA/206 must be signed by an examiner with at least partial signatory
                  authority. Revised to indicate that USPTO/299 is to be used to make a
                  record of a telephonic holding of lack of unity by the examiner under
                  Chapter I of the PCT.

      1857        Updated to include revised 35 U.S.C. 374. Also revised to include a
                  discussion of the publication of a sequence listing and/or tables filed in
                  electronic form.

      1857.01     Revised in view of amendments made to 35 U.S.C. 102(e) by the
                  Intellectual Property and High Technology Technical Amendments Act of
                  2002 (Pub. L. 107-273, 116 Stat. 1758 (2002)).




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      1865           Revised to include location addresses and mailing addresses for use when
                     filing a demand in the European Patent Office or in the United States
                     Patent and Trademark Office. Also revised to indicate that the IPEA/US
                     will serve as International Preliminary Examining Authority for residents
                     or nationals of the Philippines and Saint Lucia if the U.S. was the
                     International Searching Authority.

      1865.01        New section added to address the European Patent Office as an
                     International Preliminary Examination Authority. The European Patent
                     Office is not a competent International Preliminary Examination Authority
                     in respect of any international application filed by a national or resident of
                     the United States of America with the USPTO or the IB as receiving
                     Office where the corresponding demand is filed with the EPO on or after
                     March 1, 2002 and the international application contains one or more
                     claims relating to the field of biotechnology, the field of business methods,
                     or the field of telecommunication.

      1873           Revised to indicate that later elections, if filed within 19 months of the
                     priority date, have the effect of delaying the national stage until 30 months
                     after the priority date in those additional elected States in which the 30
                     month time limit under PCT Article 22(1) is not compatible with their
                     national law.

      1878           New form paragraph 18.04.01 is to be used to indicate that claims meet the
                     industrial applicability standard set out in PCT Article 33(4). Form
                     paragraph 18.04 has been modified to no longer address industrial
                     applicability.

      1893.01(a)     Revised in view of the amendment to PCT Article 22(1) indicating that a
                     copy of the international application, a translation thereof (as prescribed),
                     and the national fee are due to the designated Office not later than at the
                     expiration of 30 months from the priority date.

      1893.01(a)(1) Revised in view of the amendment to PCT Article 22(1) indicating that a
                    copy of the international application, a translation thereof (as prescribed),
                    and the national fee are due to the designated Office not later than at the
                    expiration of 30 months from the priority date.

      1893.01(a)(2) Revised in view of the amendment to PCT Article 22(1) indicating that a
                    copy of the international application, a translation thereof (as prescribed),
                    and the national fee are due to the designated Office not later than at the
                    expiration of 30 months from the priority date.

      1893.01(a)(3) New section added to include the subject matter deleted from MPEP
                    § 1893.01(b)(2).



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      1893.01(b)   Deleted. Content moved to MPEP § 1893.01(a).

      1893.01(b)(1) Deleted. Content moved to MPEP § 1893.01(a)(1).

      1893.01(b)(2) Deleted. Content moved to new MPEP § 1893.01(a)(3).

      1893.01(c)   Revised to indicate that applications will not be held abandoned if an
                   authorization to charge fees under 37 CFR 1.16 has been provided instead
                   of an authorization to charge fees under 37 CFR 1.492. The Office
                   amended 37 CFR 1.25(b), effective November 7, 2000, so that an
                   authorization to charge fees under 37 CFR 1.16 in an international
                   application entering the national stage under 35 U.S.C. 371 is now treated
                   as an authorization to charge fees under 37 CFR 1.492.

      1893.01(d)   Revised to indicate that the translation must be a translation of the
                   international application as filed or with any changes which have been
                   properly accepted under PCT Rule 26 or any rectifications which have
                   been properly accepted under PCT Rule 91. Revised to indicate that the
                   time period for responding to a Notification of Missing Requirements is 32
                   months from the priority date or 2 months from the date of the notice,
                   whichever expires later. The time period may be extended for up to five
                   additional months as provided in 37 CFR 1.136(a).

      1893.01(e)   Revised in view of the amendment to PCT Article 22(1) indicating that a
                   copy of the international application, a translation thereof (as prescribed),
                   and the national fee are due to the designated Office not later than at the
                   expiration of 30 months from the priority date. Also revised to indicate
                   that the time period for responding to a Notification of Missing
                   Requirements is 32 months from the priority date or 2 months from the
                   date of the notice, whichever expires later. The time period may be
                   extended for up to five additional months as provided in 37 CFR 1.136(a).

      1893.02      Revised in view of the amendment to PCT Article 22(1) indicating that a
                   copy of the international application, a translation thereof (as prescribed),
                   and the national fee are due to the designated Office not later than at the
                   expiration of 30 months from the priority date.

      1893.03(a)   Revised in view of the amendment to PCT Article 22(1) indicating that a
                   copy of the international application, a translation thereof (as prescribed),
                   and the national fee are due to the designated Office not later than at the
                   expiration of 30 months from the priority date.

      1893.03(b)   Corrected for consistency with the bibliographic data sheet reproduced in
                   the MPEP. Also revised to indicate that effective February 14, 2003, the



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                   “Application Filing Date” field in PALM and PAIR was relabeled “Filing
                   or 371(c) Date.” Revised to list three exceptions to the general rule that
                   the filing date of a national stage application is the PCT international filing
                   date.

      1893.03(c)   Revised to indicate the conditions for according benefit under 35 U.S.C.
                   119(e) are similar in national stage applications and in applications filed
                   under 35 U.S.C. 111(a), and that the conditions are described in MPEP
                   § 201.11. Also revised in view of amendments to 37 CFR 1.78. In an
                   application that claims the benefit of an international application, 37 CFR
                   1.78(a)(2) no longer requires the first sentence of the specification to
                   include an indication of whether the international application was
                   published under PCT Article 21(2) in English. Under 37 CFR
                   1.78(a)(2)(ii), the required reference to the earlier filed application must be
                   submitted within the later of four months from the date on which the
                   national stage commenced under 35 U.S.C. 371(b) or (f) in the later-filed
                   international application or sixteen months from the filing date of the
                   prior-filed application. If an application claims the benefit of a prior-filed
                   provisional application that was filed in a language other than English, an
                   English-language translation of the prior-filed provisional application and
                   a statement that the translation is accurate must be filed in the provisional
                   application or in the later-filed national stage application. See 37 CFR
                   1.78(a)(5)(iv).

      1895         Revised because 37 CFR 1.78(a)(2) no longer requires the first sentence of
                   the specification to include an indication of whether the international
                   application was published under PCT Article 21(2) in English. Also
                   revised to indicate what evidence should be provided to prove an
                   international application was copending with a U.S. national application.
                   Revised to indicate that 37 CFR 1.78(a)(2)(i) requires the appropriate
                   reference under 35 U.S.C. 120 to identify the parent application by
                   application number (consisting of the series code and serial number) or
                   international application number and international filing date. Revised to
                   indicate that 37 CFR 1.78(a)(5)(i) requires the appropriate reference under
                   35 U.S.C. 119(e) to identify the provisional application by provisional
                   application number (consisting of series code and serial number).

      1895.01      Revised in view of amendments made to 35 U.S.C. 102(e) by the
                   Intellectual Property and High Technology Technical Amendments Act of
                   2002 (Pub. L. 107-273, 116 Stat. 1758 (2002)). Also revised to indicate
                   that if the priority claim to an earlier international application is made only
                   under 35 U.S.C. 119(a)-(d) and 365(a), and not under 35 U.S.C. 120 and
                   365(c), the priority claim is not taken into account when determining the
                   term of the patent. See 35 U.S.C. 154(a)(3) and MPEP § 2701.




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      1896          Revised in view of amendments made to 35 U.S.C. 102(e) by the
                    Intellectual Property and High Technology Technical Amendments Act of
                    2002 (Pub. L. 107-273, 116 Stat. 1758 (2002)).


      CHAPTER 2100:

      2105          Added discussion of a recent Supreme Court decision.

      2107.01       Revised to emphasize that the cited case law relating to “incredible” utility
                    is fact specific and should not be applied as a per se rule.

      2111          Added discussion of a recent Federal Circuit decision.

      2111.01       Revised to add discussion of recent Federal Circuit decisions. Also
                    revised to clarify that while applicant may be his or her own lexicographer,
                    any special meaning assigned to a term must be clear from the
                    specification.

      2111.02       Section title revised to read “Effect of Preamble.” Section revised to
                    indicate there is no litmus test defining when a preamble limits the scope
                    of a claim; the determination must be made in light of the facts of each
                    case. Also revised to add discussion of recent Federal Circuit decisions.

      2113          Revised to indicate that the structure implied by process steps should be
                    considered when assessing patentability of product-by-process claims.

      2114          Revised to add discussion of additional case law.

      2131          Revised to reflect amendments to 35 U.S.C. 102(e). Added discussion of
                    a recent Federal Circuit decision.

      2133.03(b)    Added discussion of a Supreme Court decision. Revised to add discussion
                    of recent Federal Circuit decisions. Revised for consistency with recent
                    Federal Circuit decisions explaining that traditional principles of contract
                    law determine whether a commercial offer for sale has been made.

      2133.03(c)    Added paragraph to address the question of when a process is placed “on
                    sale.”

      2133.03(e)    Revised to add discussion of recent Federal Circuit decisions.

      2133.03(e)(1) Revised to cross-reference MPEP § 2133.03(e)(4) for factors indicative of
                    experimental purpose.




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      2133.03(e)(4) Revised to add discussion of recent Federal Circuit decisions listing
                    factors for determining whether a claimed invention was the subject of a
                    commercial offer for sale primarily for the purposes of experimentation.

      2136          Revised to reflect amendments to 35 U.S.C. 102(e). The filing date of the
                    application being examined is no longer relevant in determining which
                    version of 35 U.S.C. 102(e) to apply. The prior art date of a reference
                    under 35 U.S.C. 102(e) may be the international filing date if the
                    international filing date was on or after November 29, 2000, the
                    international application designated the United States, and the
                    international application was published by the World Intellectual Property
                    Organization (WIPO) under the Patent Cooperation Treaty (PCT) Article
                    21(2) in the English language. Added a new paragraph to indicate that a
                    Statutory Invention Registration (SIR) is usable as a reference as of its
                    filing date under 35 U.S.C. 102(e).

      2136.01       Revised to indicate that a provisional 35 U.S.C. 102(e) rejection may be
                    made if the earlier filed copending U.S. application has been published as
                    redacted (37 CFR 1.217) and the subject matter relied upon in the rejection
                    is not supported in the redacted publication of the patent application. Also
                    revised to indicate that the recent changes to 35 U.S.C. 102(e) did not
                    affect 35 U.S.C. 103(c).

      2136.02       Revised to reflect amendments to 35 U.S.C. 102(e).

      2136.03       Revised to reflect amendments to 35 U.S.C. 102(e). Revised to indicate
                    that the filing dates of foreign applications which have been published as
                    U.S. or WIPO application publications or patented in the U.S., including
                    international filing dates claimed as foreign priority dates under 35 U.S.C.
                    365(a), may not be used as 35 U.S.C. 102(e) dates for prior art purposes.
                    Revised to indicate procedures for determining the 35 U.S.C. 102(e) date
                    of a reference.

      2138.04       Added discussion of recent Federal Circuit decisions.

      2138.06       Added discussion of recent Federal Circuit decisions.

      2141.03       Added discussion of a recent Federal Circuit decision.

      2143.01       Added discussion of a recent Federal Circuit decision.

      2144.03       Revised procedures for relying on common knowledge or taking official
                    notice in light of recent Federal Circuit decisions.

      2144.05       Revised to add discussion of recent Federal Circuit decisions.



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      2163         Revised to add discussion of recent Federal Circuit decisions.

      2163.07      Revised to indicate that applicant may rely on an originally filed non-
                   English language U.S. application to support correction of an error in the
                   English translation thereof submitted pursuant to 37 CFR 1.52(d).

      2164.08      Added discussion of a recent Federal Circuit decision.

      2172.01      Revised to add discussion of decisions by the Board of Patent Appeals and
                   Interferences.

      2173.02      Revised to add discussion of a recent Supreme Court decision and other
                   case law. Revised to indicate that when making a rejection under 35
                   U.S.C. 112, second paragraph for indefiniteness, the examiner should
                   include an analysis as to why the claim is “vague and indefinite.”

      2173.05(a)   Revised to add discussion of a recent Federal Circuit decision. Where
                   applicant intends to use a term contrary to its ordinary meaning, the
                   written description must clearly redefine the term.

      2173.05(e)   Added discussion of a recent Federal Circuit decision.

      2173.05(k)   Revised to indicate that claims should not be rejected on the ground of
                   “aggregation.”

      2173.05(n)   Revised to indicate that rejections based on undue multiplicity should be
                   applied judiciously and should be rare, but may be appropriate when
                   applicant presents an unreasonable number of claims which, in view of the
                   nature and scope of applicant’s invention, are repetitious and multiplied,
                   the net result of which is to confuse rather than clarify.

      2181         Revised to add discussion of recent Federal Circuit decisions. Added new
                   paragraphs addressing the requirements of 35 U.S.C. 112, first and second
                   paragraph with respect to recitations under 35 U.S.C. 112, sixth paragraph
                   (“means for” or “step for” recitations).

      2190         This section has been added to address rejections under the doctrine of
                   prosecution history laches.




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           PATENT
         EXAMINING
         PROCEDURE
            Original Eighth Edition, August 2001
               Latest Revision February 2003




         U.S. DEPARTMENT OF COMMERCE
        United States Patent and Trademark Office


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 operations of the USPTO are now headed by the “Commissioner for Patents.” The trademark operations of the USPTO are
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 sioner of Patents and Trademarks, the Assistant Commissioner for Patents, or the Assistant Commissioner for Trademarks is
 deemed to refer to the Director, the Commissioner for Patents, or the Commissioner for Trademarks, respectively. See
 “Reestablishment of the Patent and Trademark Office as the United States Patent and Trademark Office” published in the
 Federal Register at 65 FR 17858 (Apr. 5, 2000), and in the Official Gazette of the United States Patent and Trademark
 Office at 1234 O.G. 41 (May 9, 2000).

    Additions to the text of the Manual are indicated by arrows (><) inserted in the text. Deletions are indicated by a single
 asterisk (*) where a single word was deleted and by two asterisks (**) where more than one word was deleted. The use of
 three or five asterisks in the body of the laws, rules, treaties, and administrative instructions indicates a portion of the law,
 rule, treaty, or administrative instruction which was not reproduced.
           First Edition, November 1949
           Second Edition, November 1953
           Third Edition, November 1961
           Fourth Edition, June 1979
           Fifth Edition, August 1983
           Sixth Edition, January 1995
           Seventh Edition, July 1998
           Eighth Edition, August 2001
             Revision 1, February 2003



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 715                                      MANUAL OF PATENT EXAMINING PROCEDURE

 will be submitted to the Commissioner and will be returned by the            37 CFR 1.131(a) has been amended to implement
 Commissioner’s direct order. Complaints against examiners and             the relevant provisions of Public Law 103-182,
 other employees must be made in correspondence separate from
                                                                           107 Stat. 2057 (1993) (North American Free Trade
 other papers.
                                                                           Agreement Act), Public Law 103-465, 108 Stat. 4809
    All papers received in the U.S. Patent and Trade-                      (1994) (Uruguay Round Agreements Act), and Public
 mark Office should be briefly reviewed by the techni-                     Law 106-113, 113 Stat. 1501 (1999) (American
 cal support staff, before entry, sufficiently to                          Inventors Protection Act), respectively. Under
 determine whether any discourteous remarks appear                         37 CFR 1.131(a) as amended, which provides for the
 therein.                                                                  establishment of a date of completion of the invention
    If the attorney or agent is discourteous in the                        in a NAFTA or WTO member country, as well as in
 remarks or arguments in his or her amendment, either                      the United States, an applicant can establish a date of
 the discourtesy should be entirely ignored or the paper                   completion in a NAFTA member country on or after
 submitted to the Technology Center (TC) Director                          December 8, 1993, the effective date of section 331 of
 with a view toward it being returned. See MPEP                            Public Law 103-182, the North American Free Trade
 § 1003. If the TC Director determines that the                            Agreement Act, and can establish a date of comple-
 remarks are in violation of 37 CFR 1.3, the TC Direc-                     tion in a WTO member country other than a NAFTA
 tor will return the paper.                                                member country on or after January 1, 1996, the
                                                                           effective date of section 531 of Public Law 103-465,
 715         Swearing Back of Reference —                                  the Uruguay Round Agreements Act (URAA). Acts
             Affidavit or Declaration Under 37                             occurring prior to the effective dates of NAFTA or
             CFR 1.131 [R-1]                                               URAA may be relied upon to show completion of the
                                                                           invention; however, a date of completion of the inven-
 37 CFR 1.131. Affidavit or declaration of prior invention.                tion may not be established under 37 CFR 1.131
       (a) When any claim of an application or a patent under reex-        before December 8, 1993 in a NAFTA country or
 amination is rejected, the inventor of the subject matter of the          before January 1, 1996 in a WTO country other than a
 rejected claim, the owner of the patent under reexamination, or the       NAFTA country.
 party qualified under §§ 1.42, 1.43, or 1.47, may submit an appro-
 priate oath or declaration to establish invention of the subject mat-        >If a country joined the WTO after January 1,
 ter of the rejected claim prior to the effective date of the reference    1996, the effective date for proving inventive activity
 or activity on which the rejection is based. The effective date of a      in that country for the purpose of 35 U.S.C. 104 and
 U.S. patent, U.S. patent application publication, or international        37 CFR 1.131 is the date the country becomes a mem-
 application publication under PCT Article 21(2) is the earlier of
                                                                           ber of the WTO. See MPEP § 201.13 for a list that
 its publication date or date that it is effective as a reference under
 35 U.S.C. 102(e). Prior invention may not be established under            includes WTO member countries (the notation “Wo”
 this section in any country other than the United States, a NAFTA         indicates the country became a WTO member after
 country, or a WTO member country. Prior invention may not be              January 1, 1996).<
 established under this section before December 8, 1993, in a
 NAFTA country other than the United States, or before January 1,             Any printed publication or activity dated prior to an
 1996, in a WTO member country other than a NAFTA country.                 applicant’s or patent owner’s effective filing date, or
 Prior invention may not be established under this section if either:      any domestic patent of prior filing date, which is in its
          (1) The rejection is based upon a U.S. patent or U.S.            disclosure pertinent to the claimed invention, is avail-
 patent application publication of a pending or patented application       able for use by the examiner as a reference, either
 to another or others which claims the same patentable invention as
                                                                           basic or auxiliary, in the rejection of the claims of the
 defined in § 1.601(n); or
          (2) The rejection is based upon a statutory bar.
                                                                           application or patent under reexamination. In addi-
       (b) The showing of facts shall be such, in character and
                                                                           tion, patent application publications >and certain
 weight, as to establish reduction to practice prior to the effective      international application publications< having an
 date of the reference, or conception of the invention prior to the        effective prior art date prior to the application being
 effective date of the reference coupled with due diligence from           examined may be used in a rejection of the claims.
 prior to said date to a subsequent reduction to practice or to the fil-   See MPEP § 706.02(a) and § 2136 - § 2136.03.
 ing of the application. Original exhibits of drawings or records, or
 photocopies thereof, must accompany and form part of the affida-             Such a rejection may be overcome, in certain
 vit or declaration or their absence satisfactorily explained.             instances noted below, by filing of an affidavit or dec-


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                                         EXAMINATION OF APPLICATIONS                                                 715

 laration under 37 CFR 1.131, known as “swearing              or declaration under 37 CFR 1.130 may be used to
 back” of the reference.                                      overcome a rejection under 35 U.S.C. 103. See
    It should be kept in mind that it is the rejection that   MPEP § 718.
 is withdrawn and not the reference.                               (C) Where the reference is a foreign patent for the
                                                              same invention to applicant or patent owner or his or
 SITUATIONS WHERE 37 CFR 1.131 AFFIDA-                        her legal representatives or assigns issued prior to the
 VITS OR DECLARATIONS CAN BE USED                             filing date of the domestic application or patent on an
   Affidavits or declarations under 37 CFR 1.131 may          application filed more than 12 months prior to the fil-
 be used, for example:                                        ing date of the domestic application. See 35 U.S.C.
                                                              102(d).
      (A) To antedate a reference or activity that quali-          (D) Where the effective filing date of applicant’s
 fies as prior art under 35 U.S.C. 102(a) and not under       or patent owner’s parent application or an Interna-
 35 U.S.C. 102(b), e.g., where the prior art date under       tional Convention proved filing date is prior to the
 35 U.S.C. 102(a) of the patent, the publication or           effective date of the reference, an affidavit or declara-
 activity used to reject the claim(s) is less than 1 year     tion under 37 CFR 1.131 is unnecessary because the
 prior to applicant’s or patent owner’s effective filing      reference is not used. See MPEP § 201.11 to
 date.                                                        § 201.15.
      (B) To antedate a reference that qualifies as prior
                                                                   (E) Where the reference is a prior U.S. patent to
 art under 35 U.S.C. 102(e), where the reference has a
                                                              the same entity, claiming the same invention. The
 prior art date under 35 U.S.C. 102(e) prior to appli-
                                                              question involved is one of “double patenting.”
 cant’s effective filing date, and shows but does not
 claim the same patentable invention. See MPEP                     (F) Where the reference is the disclosure of a
 § 715.05 for a discussion of “same patentable inven-         prior U.S. patent to the same party, not copending.
 tion.” See MPEP § 706.02(a) and § 2136 through               The question is one of dedication to the public. Note
 § 2136.03 for an explanation of what references qual-        however, In re Gibbs, 437 F.2d 486, 168 USPQ 578
 ify as prior art under 35 U.S.C. 102(e).                     (CCPA 1971) which substantially did away with the
                                                              doctrine of dedication.
 SITUATIONS WHERE 37 CFR 1.131 AFFIDA-                             (G) Where applicant has clearly admitted on the
 VITS OR DECLARATIONS ARE INAPPROPRI-                         record that subject matter relied on in the reference is
 ATE                                                          prior art. In this case, that subject matter may be used
                                                              as a basis for rejecting his or her claims and may not
   An affidavit or declaration under 37 CFR 1.131 is          be overcome by an affidavit or declaration under 37
 not appropriate in the following situations:                 CFR 1.131. In re Hellsund, 474 F.2d 1307, 177 USPQ
     (A) Where the reference publication date is more         170 (CCPA 1973); In re Garfinkel, 437 F.2d 1000,
 than 1 year prior to applicant’s or patent owner’s           168 USPQ 659 (CCPA 1971); In re Blout, 333 F.2d
 effective filing date. Such a reference is a “statutory      928, 142 USPQ 173 (CCPA 1964); In re Lopresti, 333
 bar” under 35 U.S.C. 102(b) as referenced in 37 CFR          F.2d 932, 142 USPQ 177 (CCPA 1964).
 1.131(a)(2). A reference that only qualifies as prior art         (H) Where the subject matter relied upon is prior
 under 35 U.S.C. 102(a) or (e) is not a “statutory bar.”      art under 35 U.S.C. 102(f).
     (B) Where the reference U.S. patent or U.S.                   (I) Where the subject matter relied on in the ref-
 patent application publication claims the same patent-       erence is prior art under 35 U.S.C. 102(g). 37 CFR
 able invention. See MPEP § 715.05 for a discussion           1.131 is designed to permit an applicant to overcome
 of “same patentable invention” and MPEP § 2306.              rejections based on references or activities which are
 Where the reference patent and the application or            not statutory bars, but which have dates prior to the
 patent under reexamination are commonly owned,               effective filing date of the application but subsequent
 and the inventions defined by the claims in the appli-       to the applicant’s actual date of invention. However,
 cation or patent under reexamination and by the              when the subject matter relied on is also available
 claims in the patent are not identical but are not pat-      under 35 U.S.C. 102(g), a 37 CFR 1.131 affidavit or
 entably distinct, a terminal disclaimer and an affidavit     declaration cannot be used to overcome it. In re Bass,


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 715                             MANUAL OF PATENT EXAMINING PROCEDURE

 474 F.2d 1276, 177 USPQ 178 (CCPA 1973). This is           A.    U.S. Patents *>,< U.S. Patent Application *
 because subject matter which is available under                  >Publications, and International Application
 35 U.S.C. 102(g) by definition must have been made               Publications<
 before the applicant made his or her invention. By
 contrast, references under 35 U.S.C. 102(a) and (e),          See MPEP § 706.02(a) and § 2136 through
 for example, merely establish a presumption that their     § 2136.03 for a detailed discussion of the effective
 subject matter was made before applicant’s invention       date of a U.S. patent *>,< U.S. patent application pub-
 date. It is this presumption which may be rebutted by      lication >, or WIPO publication of an international
 evidence submitted under 37 CFR 1.131.                     application< as a reference.
      (J) Where the subject matter corresponding to a          >U.S. patents,< U.S. patent application publica-
 lost count in an interference is either prior art under    tions >, and WIPO publications of international appli-
 35 U.S.C. 102(g) or barred to applicant by the doc-        cations< are available as prior art under 35 U.S.C.
 trine of interference estoppel. In re Bandel, 348 F.2d     102(e) against **>all< patent applications **>and
 563, 146 USPQ 389 (CCPA 1965); In re Kroekel, 803          patents under reexamination.<
 F.2d 705, 231 USPQ 640 (Fed. Cir. 1986). See also In
                                                               Should it be established that the portion of the
 re Deckler, 977 F.2d 1449, 24 USPQ2d 1448 (Fed.
                                                            patent, or patent application publication, disclosure
 Cir. 1992) (Under the principles of res judicata and
                                                            relied on as the reference was introduced into the
 collateral estoppel, applicant was not entitled to
 claims that were patentably indistinguishable from the     patent application by amendment and as such was
 claim lost in interference even though the subject mat-    new matter, the date to be overcome by the affidavit
 ter of the lost count was not available for use in an      or declaration is the date of amendment. In re Willien,
 obviousness rejection under 35 U.S.C. 103). But see        74 F.2d 550, 24 USPQ 210 (CCPA 1935). The effec-
 In re Zletz, 893 F.2d 319, 13 USPQ2d 1320 (Fed. Cir.       tive date of a domestic patent when used as a refer-
 1989) (A losing party to an interference, on showing       ence is not the foreign filing date to which the
 that the invention now claimed is not “substantially       application for patent may have been entitled under
 the same” as that of the lost count, may employ the        35 U.S.C. 119(a) during examination. In re Hilmer,
 procedures of 37 CFR 1.131 to antedate the filing date     359 F.2d 859, 149 USPQ 480 (CCPA 1966). There-
 of an interfering application). On the matter of when a    fore, the date to be overcome under 37 CFR 1.131 is
 “lost count” in an interference constitutes prior art      the effective U.S. filing date, not the foreign priority
 under 35 U.S.C. 102(g), see In re McKellin, 529 F.2d       date. When a U.S. patent or U.S. patent application
 1342, 188 USPQ 428 (CCPA 1976) (A count is not             publication reference is entitled to claim the benefit of
 prior art under 35 U.S.C. 102(g) as to the loser of an     an earlier filed application, its effective filing date is
 interference where the count was lost based on the         determined under 35 U.S.C. 102(e). See MPEP
 winner’s foreign priority date). Similarly, where one      § 706.02(a) and § 2136 through § 2136.03.
 party in an interference wins a count by establishing a
 date of invention in a NAFTA or WTO member coun-           B.    Foreign Patents
 try (see 35 U.S.C. 104), the subject matter of that
 count is unpatentable to the other party by the doc-         See MPEP § 2126 through § 2127 regarding date of
 trine of interference estoppel, even though it is not      availability of foreign patents as prior art.
 available as statutory prior art under 35 U.S.C.
 102(g). See MPEP § 2138.01 and § 2138.02.                  C.    Printed Publications

 REFERENCE DATE TO BE OVERCOME                                 A printed publication, including a published foreign
                                                            patent application, is effective as of its publication date,
    The date to be overcome under 37 CFR 1.131 is the       not its date of receipt by the publisher. For additional in-
 effective date of the reference (i.e., the date on which   formation regarding effective dates of printed publica-
 the reference is available as prior art).                  tions, see MPEP § 2128 through § 2128.02.


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                                                   EXAMINATION OF APPLICATIONS                                                              715

 D.     Activities                                                         ¶ 7.59 Affidavit or Declaration Under 37 CFR 1.131:
                                                                           Ineffective, Insufficient Evidence of Reduction to Practice
   An applicant may make an admission, or submit                           Before Reference Date
 evidence of use of the invention or knowledge of the                         The evidence submitted is insufficient to establish a reduction
                                                                           to practice of the invention in this country or a NAFTA or WTO
 invention by others, or the examiner may have per-
                                                                           member country prior to the effective date of the [1] reference. [2]
 sonal knowledge that the invention was used or
 known by others in this country. See MPEP                                 Examiner Note:
 § 706.02(c) and § 2133.03. The effective date of the                      1. This form paragraph must be preceded by form paragraph
 activity used to reject the claim(s) is the date the                      7.57.
                                                                           2. An explanation of the lack of showing of the alleged reduc-
 activity was first known to have occurred.
                                                                           tion to practice must be provided in bracket 2.

 FORM PARAGRAPHS                                                           ¶ 7.60 Affidavit or Declaration Under 37 CFR 1.131:
                                                                           Ineffective, Reference Is a Statutory Bar
   Form paragraphs 7.57-7.64 may be used to respond                           The [1] reference is a statutory bar under 35 U.S.C. 102(b) and
                                                                           thus cannot be overcome by an affidavit or declaration under 37
 to 37 CFR 1.131 affidavits.                                               CFR 1.131.

 ¶ 7.57 Affidavit or Declaration Under 37 CFR 1.131:                       Examiner Note:
 Ineffective- Heading                                                           This form paragraph must be preceded by form paragraph 7.57.
    The [1] filed on [2] under 37 CFR 1.131 has been considered            ¶ 7.61 Affidavit or Declaration Under 37 CFR 1.131:
 but is ineffective to overcome the [3] reference.                         Ineffective, Insufficient Evidence of Conception
                                                                              The evidence submitted is insufficient to establish a conception
 Examiner Note:                                                            of the invention prior to the effective date of the [1] reference.
 1.   In bracket 1, insert either --affidavit-- or --declaration--.        While conception is the mental part of the inventive act, it must be
                                                                           capable of proof, such as by demonstrative evidence or by a com-
 2. This form paragraph must be followed by one or more of                 plete disclosure to another. Conception is more than a vague idea
 form paragraphs 7.58 to 7.63 or a paragraph setting forth proper          of how to solve a problem. The requisite means themselves and
 basis for the insufficiency, such as failure to establish acts per-       their interaction must also be comprehended. See Mergenthaler v.
 formed in this country, or that the scope of the declaration or affi-     Scudder, 1897 C.D. 724, 81 O.G. 1417 (D.C. Cir. 1897). [2]
 davit is not commensurate with the scope of the claim(s).
                                                                           Examiner Note:
 ¶ 7.58 Affidavit or Declaration Under 37 CFR 1.131:                       1. This form paragraph must be preceded by form paragraph
 Ineffective, Claiming Same Invention                                      7.57.
                                                                           2. An explanation of the deficiency in the showing of concep-
     The [1] reference is a U.S. patent or U.S. patent application         tion must be presented in bracket 2.
 publication of a pending or patented application that claims the          3. If the affidavit additionally fails to establish either diligence
 rejected invention. An affidavit or declaration is inappropriate          or a subsequent reduction to practice, this form paragraph should
 under 37 CFR 1.131(a) when the reference is claiming the same             be followed by form paragraph 7.62 and/or 7.63. If either dili-
 patentable invention, see MPEP § 2306. If the reference and this          gence or a reduction to practice is established, a statement to that
 application are not commonly owned, the reference can only be             effect should follow this paragraph.
 overcome by establishing priority of invention through interfer-
 ence proceedings. See MPEP Chapter 2300 for information on                ¶ 7.62 Affidavit or Declaration Under 37 CFR 1.131:
 initiating interference proceedings. If the reference and this appli-     Ineffective, Diligence Lacking
 cation are commonly owned, the patent may be disqualified as                 The evidence submitted is insufficient to establish diligence
 prior art by an affidavit or declaration under 37 CFR 1.130. See          from a date prior to the date of reduction to practice of the [1] ref-
 MPEP § 718.                                                               erence to either a constructive reduction to practice or an actual
                                                                           reduction to practice. [2]
 Examiner Note:
                                                                           Examiner Note:
 1. If used to respond to the submission of an affidavit under 37
                                                                           1. This form paragraph must be preceded by form paragraph
 CFR 1.131, this paragraph must be preceded by paragraph 7.57.
                                                                           7.57.
 2. This form paragraph may be used without form paragraph                 2. If the affidavit additionally fails to establish conception, this
 7.57 when an affidavit has not yet been filed, and the examiner           paragraph must also be preceded by form paragraph 7.61. If the
 desires to notify applicant that the submission of an affidavit           affidavit establishes conception, a statement to that effect should
 under 37 CFR 1.131 would be inappropriate.                                be added to this paragraph.



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 715.01                                  MANUAL OF PATENT EXAMINING PROCEDURE

 3. If the affidavit additionally fails to establish an alleged           erences or activities which are available as prior art
 reduction to practice prior to the application filing date, this para-   under 35 U.S.C. 102(a) or references which are avail-
 graph must be followed by form paragraph 7.63. If such an
 alleged reduction to practice is established, a statement to that
                                                                          able as prior art under 35 U.S.C. 102(e) by proving
 effect should be added to this paragraph.                                that the subject matter relied upon in the reference or
 4. An explanation of the reasons for a holding of non-diligence          activity was applicant’s own invention.
 must be provided in bracket 2.
                                                                             Similarly, where the reference relied upon in a
 5. See MPEP § 715.07(a), Ex parte Merz, 75 USPQ 296 (Bd.
 App. 1947), which indicates that diligence is not required after         35 U.S.C. 103 rejection qualifies as prior art only
 reduction to practice.                                                   under 35 U.S.C. 102(f) or (g), or, in an application
                                                                          filed on or after November 29, 1999, under 35 U.S.C.
 ¶ 7.63 Affidavit or Declaration Under 37 CFR 1.131:
                                                                          102(e), applicant may be able to overcome this rejec-
 Ineffective, Insufficient Evidence of Actual Reduction to
 Practice                                                                 tion by proving that the subject matter relied upon and
    The evidence submitted is insufficient to establish applicant’s       the claimed invention were commonly owned or sub-
 alleged actual reduction to practice of the invention in this country    ject to common assignment at the time the later inven-
 or a NAFTA or WTO member country after the effective date of             tion was made. See MPEP § 706.02(l)(1) through
 the [1] reference. [2].                                                  § 706.02(l)(3).
 Examiner Note:
 1. This form paragraph must be preceded by form paragraph                715.01(a) Reference Is a Joint Patent or
 7.57.
 2. If the alleged reduction to practice is prior to the effective
                                                                                    Published Application to Appli-
 date of the reference, do not use this paragraph. See form para-                   cant and Another
 graph 7.59.
 3. If the affidavit additionally fails to establish either concep-          When subject matter, disclosed but not claimed in a
 tion or diligence, form paragraphs 7.61 and/or 7.62 should pre-
 cede this paragraph. If either conception or diligence is
                                                                          patent or application publication filed jointly by S and
 established, a statement to that effect should be included after this    another, is claimed in a later application filed by S, the
 paragraph.                                                               joint patent or application publication is a valid refer-
 4. An explanation of the lack of showing of the alleged reduc-           ence unless overcome by affidavit or declaration
 tion to practice must be given in bracket 2.                             under 37 CFR 1.131 or an unequivocal declaration
 ¶ 7.64 Affidavit or Declaration Under 37 CFR 1.131:                      under 37 CFR 1.132 by S that he/she conceived or
 Effective To Overcome Reference                                          invented the subject matter disclosed in the patent or
   The [1] filed on [2] under 37 CFR 1.131 is sufficient to over-         application publication and relied on in the rejection.
 come the [3] reference.                                                  In re DeBaun, 687 F.2d 459, 214 USPQ 933 (CCPA
 Examiner Note:                                                           1982). See MPEP § 716.10 for a discussion of the use
 1. In bracket 1, insert either --affidavit-- or --declaration--.         of 37 CFR 1.132 affidavits or declarations to over-
 2. In bracket 2, insert the filing date of the affidavit or declara-     come rejections by establishing that the subject matter
 tion.                                                                    relied on in the patent or application publication was
 3. In bracket 3, insert the name of the reference.                       the invention of the applicant. Disclaimer by the other
                                                                          patentee or applicant of the application publication
                                                                          should not be required but, if submitted, may be
 715.01          37 CFR 1.131 Affidavits Versus                           accepted by the examiner.
                 37 CFR 1.132 Affidavits
                                                                             Although affidavits or declarations submitted for
    The purpose of a 37 CFR 1.131 affidavit or declara-                   the purpose of establishing that the reference discloses
 tion is to overcome a prior art rejection by proving                     applicant’s invention are properly filed under 37 CFR
 invention of the claimed subject matter by applicant                     1.132, rather than 37 CFR 1.131, such affidavits sub-
 prior to the effective date of the reference or activity                 mitted improperly under 37 CFR 1.131 will be con-
 relied upon in the rejection.                                            sidered as though they were filed under 37 CFR 1.132
    In some situations, an applicant may, alternatively,                  to traverse a ground of rejection. In re Facius, 408
 be able to overcome prior art rejections relying on ref-                 F.2d 1396, 161 USPQ 294 (CCPA 1969).


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                                        EXAMINATION OF APPLICATIONS                                         715.01(d)

 715.01(b) Reference and Application Have                   CFR 1.132 affidavits submitted to show that the refer-
           Common Assignee                                  ence is a publication of applicant’s own invention.


    The mere fact that the reference patent or applica-     CO-AUTHORSHIP
 tion publication which shows but does not claim cer-
                                                               Where the applicant is one of the co-authors of a
 tain subject matter and the application which claims it
                                                            publication cited against his or her application, he or
 are owned by the same assignee does not avoid the          she may overcome the rejection by filing an affidavit
 necessity of filing an affidavit or declaration under 37   or declaration under 37 CFR 1.131. Alternatively, the
 CFR 1.131, in the absence of a showing under               applicant may overcome the rejection by filing a spe-
 37 CFR 1.132 that the patentee derived the subject         cific affidavit or declaration under 37 CFR 1.132
 matter relied on from the applicant (MPEP § 716.10).       establishing that the article is describing applicant’s
 The common assignee does not obtain any rights in          own work. An affidavit or declaration by applicant
 this regard by virtue of common ownership which he         alone indicating that applicant is the sole inventor and
 or she would not have in the absence of common             that the others were merely working under his or her
 ownership. In re Frilette, 412 F.2d 269, 162 USPQ          direction is sufficient to remove the publication as a
 163 (CCPA 1969); Pierce v. Watson, 275 F.2d 890,           reference under 35 U.S.C. 102(a). In re Katz, 687 F.2d
 124 USPQ 356 (D.C. Cir. 1960); In re Beck, 155 F.2d        450, 215 USPQ 14 (CCPA 1982).
 398, 69 USPQ 520 (CCPA 1946). Where, however, a
                                                            DERIVATION
 rejection is applied under 35 U.S.C. 102(f)/103 or
 35 U.S.C. 102(g)/103 , or, in an application filed on or
                                                               When the unclaimed subject matter of a patent,
 after November 29, 1999, under 35 U.S.C. 102(e)/103        application publication, or other publication is appli-
 using the reference, a showing that the invention          cant’s own invention, a rejection on that patent or
 was commonly owned, or subject to an obligation of         publication may be removed by submission of evi-
 assignment to the same person, at the time the later       dence establishing the fact that the patentee, applicant
 invention was made would preclude such a rejection         of the published application, or author derived his or
 or be sufficient to overcome such a rejection. See         her knowledge of the relevant subject matter from
 MPEP § 706.02(l) and § 706.02(l)(1).                       applicant. Moreover applicant must further show that
                                                            he or she made the invention upon which the relevant
 715.01(c) Reference Is Publication of                      disclosure in the patent, application publication, or
           Applicant’s Own Invention                        other publication is based. In re Mathews, 408 F.2d
                                                            1393, 161 USPQ 276 (CCPA 1969); In re Facius, 408
                                                            F.2d 1396, 161 USPQ 294 (CCPA 1969).
    Unless it is a statutory bar, a rejection based on a
 publication may be overcome by a showing that it was
                                                            715.01(d) Activities Applied Against the
 published either by applicant himself/herself or on
 his/her behalf. Since such a showing is not made to
                                                                      Claims
 show a date of invention by applicant prior to the date
                                                               Unless it is a statutory bar, a rejection based on an
 of the reference under 37 CFR 1.131, the limitation in
                                                            activity showing that the claimed invention was used
 35 U.S.C. 104 and in 37 CFR 1.131(a)(1) that only
                                                            or known prior to the filing date of the application
 acts which occurred in this country or in a NAFTA or       may be overcome by an affidavit or declaration under
 WTO member country may be relied on to establish a         37 CFR 1.131 establishing a date of invention prior to
 date of invention is not applicable. Ex parte Lemieux,     the date of the activity. Alternatively, the applicant(s)
 115 USPQ 148, 1957 C.D. 47, 725 O.G. 4 (Bd. App.           may overcome the rejection by filing a specific affida-
 1957); Ex parte Powell, 1938 C.D. 15, 489 O.G. 231         vit or declaration under 37 CFR 1.132 showing that
 (Bd. App. 1938). See MPEP § 716.10 regarding 37            the activity was performed by the applicant(s).


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 715.02                           MANUAL OF PATENT EXAMINING PROCEDURE

 715.02          How Much of the Claimed Inven-               cant can still overcome the rejection by showing that
                 tion Must Be Shown, Including                the differences between the claimed invention and the
                                                              showing under 37 CFR 1.131 would have been obvi-
                 the General Rule as to Generic               ous to one of ordinary skill in the art, in view of appli-
                 Claims                                       cant’s 37 CFR 1.131 evidence, prior to the effective
                                                              date of the reference(s) or the activity. Such evidence
    The 37 CFR 1.131 affidavit or declaration must            is sufficient because applicant’s possession of what is
 establish possession of either the whole invention           shown carries with it possession of variations and
 claimed or something falling within the claim (such as       adaptations which would have been obvious, at the
 a species of a claimed genus), in the sense that the         same time, to one of ordinary skill in the art. How-
 claim as a whole reads on it. In re Tanczyn, 347 F.2d        ever, the affidavit or declaration showing must still
 830, 146 USPQ 298 (CCPA 1965) (Where applicant               establish possession of the invention (i.e., the basic
 claims an alloy comprising both nitrogen and molyb-          inventive concept) and not just of what one reference
 denum, an affidavit showing applicant made an alloy          (in a combination of applied references) happens to
 comprising nitrogen but not molybdenum is not suffi-         show, if that reference does not itself teach the basic
 cient under 37 CFR 1.131 to overcome a rejection             inventive concept. In re Spiller, 500 F.2d 1170, 182
 under 35 U.S.C. 103 based on the combined teachings          USPQ 614 (CCPA 1974) (Claimed invention was use
 of one reference disclosing an alloy comprising nitro-       of electrostatic forces to adhere dry starch particles to
 gen but not molybdenum and a second reference dis-           a wet paper web on the Fourdrinier wire of a paper-
 closing an alloy comprising molybdenum but not               making machine. 37 CFR 1.131 affidavit established
 nitrogen). Note, however, where the differences              use of electrostatic forces to adhere starch particles to
 between the claimed invention and the disclosure of          wet blotting paper moved over a fluidized bed of
 the reference(s) are so small as to render the claims        starch particles prior to the applied reference date.
 obvious over the reference(s), an affidavit or declara-      Affidavit was sufficient in view of prior art reference
 tion under 37 CFR 1.131 is required to show no more          showing that deposition of dry coatings directly on
 than the reference shows. In re Stryker, 435 F.2d            wet webs on the Fourdrinier wire of a paper-making
 1340, 168 USPQ 372 (CCPA 1971). In other words,              machine was well known in the art prior to the date of
 where the examiner, in rejecting a claim under 35            the applied reference. The affidavit established pos-
 U.S.C. 103, has treated a claim limitation as being an       session of the basic invention, i.e., use of electrostatic
 obvious feature or modification of the disclosure of         forces to adhere starch to wet paper.).
 the reference(s) relied upon, without citation of a ref-
 erence which teaches such feature or modification, a         SWEARING BEHIND ONE OF A PLURALITY
 37 CFR 1.131 affidavit or declaration may be suffi-          OF COMBINED REFERENCES
 cient to overcome the rejection even if it does not
 show such feature or modification.                              Applicant may overcome a 35 U.S.C. 103 rejection
    Further, a 37 CFR 1.131 affidavit is not insufficient     based on a combination of references by showing
 merely because it does not show the identical disclo-        completion of the invention by applicant prior to the
 sure of the reference(s) or the identical subject matter     effective date of any of the references; applicant need
 involved in the activity relied upon. If the affidavit       not antedate the reference with the earliest filing date.
 contains facts showing a completion of the invention         However, as discussed above, applicant’s 37 CFR
 commensurate with the extent of the invention as             1.131 affidavit must show possession of either the
 claimed is shown in the reference or activity, the affi-     whole invention as claimed or something falling
 davit or declaration is sufficient, whether or not it is a   within the claim(s) prior to the effective date of the
 showing of the identical disclosure of the reference or      reference being antedated; it is not enough merely to
 the identical subject matter involved in the activity.       show possession of what the reference happens to
 See In re Wakefield, 422 F.2d 897, 164 USPQ 636              show if the reference does not teach the basic inven-
 (CCPA 1970).                                                 tive concept.
    Even if applicant’s 37 CFR 1.131 affidavit is not            Where a claim has been rejected under 35 U.S.C.
 fully commensurate with the rejected claim, the appli-       103 based on Reference A in view of Reference B,


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                                         EXAMINATION OF APPLICATIONS                                              715.03

 with the effective date of secondary Reference B             REFERENCE OR ACTIVITY DISCLOSES SPE-
 being earlier than that of Reference A, the applicant        CIES
 can rely on the teachings of Reference B to show that
 the differences between what is shown in his or her 37       A.    Species Claim
 CFR 1.131 affidavit or declaration and the claimed              Where the claim under rejection recites a species
 invention would have been obvious to one of ordinary         and the reference or activity discloses the claimed
 skill in the art prior to the date of Reference A. How-      species, the rejection can be overcome under 37 CFR
 ever, the 37 CFR 1.131 affidavit or declaration must         1.131 directly by showing prior completion of the
 still establish possession of the claimed invention, not     claimed species or indirectly by a showing of prior
 just what Reference A shows, if Reference A does not         completion of a different species coupled with a
 teach the basic inventive concept.                           showing that the claimed species would have been an
                                                              obvious modification of the species completed by
 GENERAL RULE AS TO GENERIC CLAIMS                            applicant. See In re Spiller, 500 F.2d 1170, 182 USPQ
                                                              614 (CCPA 1974).
    A reference or activity applied against generic
                                                              B.    Genus Claim
 claims may (in most cases) be antedated as to such
 claims by an affidavit or declaration under 37 CFR              The principle is well established that the disclosure
 1.131 showing completion of the invention of only a          of a species in a cited reference is sufficient to prevent
 single species, within the genus, prior to the effective     a later applicant from obtaining a “generic claim.” In
 date of the reference or activity (assuming, of course,      re Gosteli, 872 F.2d 1008, 10 USPQ2d 1614 (Fed. Cir.
 that the reference or activity is not a statutory bar or a   1989); In re Slayter, 276 F.2d 408, 125 USPQ 345
 patent, or an application publication, claiming the          (CCPA 1960).
 same invention). See Ex parte Biesecker, 144 USPQ               Where the only pertinent disclosure in the reference
 129 (Bd. App. 1964). See, also, In re Fong,                  or activity is a single species of the claimed genus, the
                                                              applicant can overcome the rejection directly under 37
 288 F.2d 932, 129 USPQ 264 (CCPA 1961); In re
                                                              CFR 1.131 by showing prior possession of the species
 Defano, 392 F.2d 280, 157 USPQ 192 (CCPA 1968)
                                                              disclosed in the reference or activity. On the other
 (distinguishing chemical species of genus compounds
                                                              hand, a reference or activity which discloses several
 from embodiments of a single invention). See, how-           species of a claimed genus can be overcome directly
 ever, MPEP § 715.03 for practice relative to cases in        under 37 CFR 1.131 only by a showing that the appli-
 unpredictable arts.                                          cant completed, prior to the date of the reference or
                                                              activity, all of the species shown in the reference. In re
 715.03       Genus-Species, Practice Relative                Stempel, 241 F.2d 755, 113 USPQ 77 (CCPA 1957).
              to Cases Where Predictability Is                   Proof of prior completion of a species different
              in Question                                     from the species of the reference or activity will be
                                                              sufficient to overcome a reference indirectly under 37
                                                              CFR 1.131 if the species shown in the reference or
    Where generic claims have been rejected on a refer-
                                                              activity would have been obvious in view of the spe-
 ence or activity which discloses a species not ante-
                                                              cies shown to have been made by the applicant. In re
 dated by the affidavit or declaration, the rejection will
                                                              Clarke, 356 F.2d 987, 148 USPQ 665 (CCPA 1966);
 not ordinarily be withdrawn, subject to the rules set        In re Plumb, 470 F.2d 1403, 176 USPQ 323 (CCPA
 forth below, unless the applicant is able to establish       1973); In re Hostettler, 356 F.2d 562, 148 USPQ 514
 that he or she was in possession of the generic inven-       (CCPA 1966). Alternatively, if the applicant cannot
 tion prior to the effective date of the reference or         show possession of the species of the reference or
 activity. In other words, the affidavit or declaration       activity in this manner, the applicant may be able to
 under 37 CFR 1.131 must show as much as the mini-            antedate the reference or activity indirectly by, for
 mum disclosure required by a patent specification to         example, showing prior completion of one or more
 furnish support for a generic claim.                         species which put him or her in possession of the


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 715.04                           MANUAL OF PATENT EXAMINING PROCEDURE

 claimed genus prior to the reference’s or activity’s         the reference or activity under 37 CFR 1.131. Ex
 date. The test is whether the species completed by           parte Biesecker, 144 USPQ 129 (Bd. App. 1964).
 applicant prior to the reference date or the activity’s         In cases where predictability is in question, on the
 date provided an adequate basis for inferring that the       other hand, a showing of prior completion of one or a
 invention has generic applicability. In re Plumb, 470        few species within the disclosed genus is generally
 F.2d 1403, 176 USPQ 323 (CCPA 1973); In re Rainer,           not sufficient to overcome the reference or activity. In
 390 F.2d 771, 156 USPQ 334 (CCPA 1968); In re                re Shokal, 242 F.2d 771, 113 USPQ 283 (CCPA
 Clarke, 356 F.2d 987, 148 USPQ 665 (CCPA 1966);              1957). The test is whether the species completed by
 In re Shokal, 242 F.2d 771, 113 USPQ 283 (CCPA               applicant prior to the reference date or the date of the
 1957).                                                       activity provided an adequate basis for inferring that
    It is not necessary for the affidavit evidence to         the invention has generic applicability. In re Mantell,
 show that the applicant viewed his or her invention as       454 F.2d 1398, 172 USPQ 530 (CCPA 1973); In re
 encompassing more than the species actually made.            Rainer, 390 F.2d 771, 156 USPQ 334 (CCPA 1968);
 The test is whether the facts set out in the affidavit are   In re DeFano, 392 F.2d 280, 157 USPQ 192 (CCPA
 such as would persuade one skilled in the art that the       1968); In re Clarke, 356 F.2d 987, 148 USPQ 665
 applicant possessed so much of the invention as is           (CCPA 1965). In the case of a small genus such as the
 shown in the reference or activity. In re Schaub, 537        halogens, which consists of four species, a reduction
 F.2d 509, 190 USPQ 324 (CCPA 1976).                          to practice of three, or perhaps even two, species
                                                              might show possession of the generic invention, while
 C.      Species Versus Embodiments                           in the case of a genus comprising hundreds of species,
    References or activities which disclose one or more       reduction to practice of a considerably larger number
 embodiments of a single claimed invention, as                of species would be necessary. In re Shokal, supra.
 opposed to species of a claimed genus, can be over-             It is not necessary for the affidavit evidence to
 come by filing a 37 CFR 1.131 affidavit showing              show that the applicant viewed his or her invention as
 prior completion of a single embodiment of the inven-        encompassing more than the species he or she actu-
 tion, whether it is the same or a different embodiment       ally made. The test is whether the facts set out in the
 from that disclosed in the reference or activity. See In     affidavit are such as would persuade one skilled in the
 re Fong, 288 F.2d 932, 129 USPQ 264 (CCPA 1961)              art that the applicant possessed so much of the inven-
 (Where applicant discloses and claims a washing              tion as is shown in the reference. In re Schaub, 537 F.
 solution comprising a detergent and polyvinylpyrroli-        509, 190 USPQ 324 (CCPA 1976).
 done (PVP), with no criticality alleged as to the par-
                                                              715.04      Who May Make Affidavit or
 ticular detergent used, the PVP being used as a soil-
 suspending agent to prevent the redeposition of the                      Declaration; Formal Require-
 soil removed, the invention was viewed as the use of                     ments of Affidavits and Declara-
 PVP as a soil-suspending agent in washing with a                         tions
 detergent. The disclosure in the reference of the use of
 PVP with two detergents, both of which differed from         WHO MAY MAKE AFFIDAVIT OR DECLARA-
 that shown in applicant’s 37 CFR 1.131 affidavit, was        TION
 considered a disclosure of different embodiments of a
 single invention, rather than species of a claimed             The following parties may make an affidavit or
 genus); In re Defano, 392 F.2d 280, 157 USPQ 192             declaration under 37 CFR 1.131:
 (CCPA 1968).                                                     (A) All the inventors of the subject matter
                                                              claimed.
 REFERENCE OR              ACTIVITY        DISCLOSES
 CLAIMED GENUS                                                    (B) An affidavit or declaration by less than all
                                                              named inventors of an application is accepted where it
   In general, where the reference or activity discloses      is shown that less than all named inventors of an
 the claimed genus, a showing of completion of a sin-         application invented the subject matter of the claim or
 gle species within the genus is sufficient to antedate       claims under rejection. For example, one of two joint


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                                        EXAMINATION OF APPLICATIONS                                                     715.05

 inventors is accepted where it is shown that one of the    ments made on information and belief are believed to
 joint inventors is the sole inventor of the claim or       be true.
 claims under rejection.
     (C) A party qualified under 37 CFR 1.42, 1.43, or      715.05         U.S. Patent or Application Publi-
 1.47 in situation where some or all of the inventors are                  cation Claiming Same Invention
 not available or not capable of joining in the filing of
                                                               When the reference in question is a noncommonly
 the application.
                                                            owned U.S. patent or patent application publication
     (D) The assignee or other party in interest when it
                                                            claiming the same invention as applicant and its pub-
 is not possible to produce the affidavit or declaration
                                                            lication date is less than 1 year prior to the presenta-
 of the inventor. Ex parte Foster, 1903 C.D. 213, 105
                                                            tion of claims to that invention in the application
 O.G. 261 (Comm’r Pat. 1903).
                                                            being examined, applicant’s remedy, if any, must be
    Affidavits or declarations to overcome a rejection      by way of 37 CFR 1.608 instead of 37 CFR 1.131. If
 of a claim or claims must be made by the inventor or       the reference is claiming the same invention as the
 inventors of the subject matter of the rejected            application and its publication date is less than 1 year
 claim(s), a party qualified under 37 CFR 1.42, 1.43, or    prior to the presentation of claims to that invention in
 1.47, or the assignee or other party in interest when it   the application, this fact should be noted in the Office
 is not possible to produce the affidavit or declaration    action. The reference can then be overcome only by
 of the inventor(s). Thus, where all of the named           way of interference. See MPEP §§ 2306-2308. If the
 inventors of a pending application are not inventors of    reference is claiming the same invention as the appli-
 every claim of the application, any affidavit under 37     cation and its publication date is 1 year or more prior
 CFR 1.131 could be signed by only the inventor(s) of       to the presentation of claims to that invention in the
 the subject matter of the rejected claims. Further,        application, a rejection of the claims of the application
 where it is shown that a joint inventor is deceased,       under 35 U.S.C. 135(b) should be made. See In re
 refuses to sign, or is otherwise unavailable, the signa-   McGrew, 120 F.3d 1236, 1238, 43 USPQ2d 1632,
 tures of the remaining joint inventors are sufficient.     1635 (Fed. Cir. 1997) (The court holding that applica-
 However, the affidavit or declaration, even though         tion of 35 U.S.C. 135(b) is not limited to inter partes
 signed by fewer than all the joint inventors, must         interference proceedings, but may be used as a basis
 show completion of the invention by all of the joint       for ex parte rejections.).
 inventors of the subject matter of the claim(s) under         Form paragraph 23.14 or 23.14.01 may be used
 rejection. In re Carlson, 79 F.2d 900, 27 USPQ 400         when making a rejection under 35 U.S.C. 135(b).
 (CCPA 1935).

 FORMAL REQUIREMENTS OF AFFIDAVITS                          ¶ 23.14 Claims Not Copied Within One Year of Patent
 AND DECLARATIONS                                           Issue Date
                                                                Claim [l] rejected under 35 U.S.C. 135(b) as not being made
    An affidavit is a statement in writing made under       prior to one year from the date on which U.S. Patent No. [2] was
 oath before a notary public, magistrate, or officer        granted. See In re McGrew, 120 F.3d 1236, 1238, 43 USPQ2d
                                                            1632,1635 (Fed. Cir. 1997) where the Court held that the applica-
 authorized to administer oaths. See MPEP § 604
                                                            tion of 35 U.S.C. 135(b) is not limited to inter partes interference
 through § 604.06 for additional information regarding      proceedings, but may be used as a basis for ex parte rejections.
 formal requirements of affidavits.
    37 CFR 1.68 permits a declaration to be used            ¶ 23.14.01 Claims Not Copied Within One Year of
                                                            Application Publication Date
 instead of an affidavit. The declaration must include
                                                               Claim [l] rejected under 35 U.S.C. 135(b) as not being made
 an acknowledgment by the declarant that willful false      prior to one year from the date on which [2] was published under
 statements and the like are punishable by fine or          35 U.S.C. 122(b). See In re McGrew, 120 F.3d 1236, 1238, 43
 imprisonment, or both (18 U.S.C. 1001) and may             USPQ2d 1632,1635 (Fed. Cir. 1997) where the Court held that the
 jeopardize the validity of the application or any patent   application of 35 U.S.C. 135(b) is not limited to inter partes inter-
 issuing thereon. The declarant must set forth in the       ference proceedings, but may be used as a basis for ex parte rejec-
                                                            tions.
 body of the declaration that all statements made of the
 declarant's own knowledge are true and that all state-     Examiner Note:


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 715.07                              MANUAL OF PATENT EXAMINING PROCEDURE

 1. In bracket 2, insert the publication number of the published      Since 37 CFR 1.131 defines “same patentable
 application.                                                      invention” in the same way as the interference rules
 2. This form paragraph should only be used if the application     (37 CFR 1.601(n)), the USPTO cannot prevent an
 being examined was filed after the publication date of the pub-
 lished application.
                                                                   applicant from overcoming a reference by a 37 CFR
                                                                   1.131 affidavit or declaration on the grounds that the
    Where the reference and the application or                     reference claims applicant’s invention and, at the
 patent under reexamination are commonly owned,                    same time, deny applicant an interference on the
 and the inventions defined by the claims in the appli-            grounds that the claims of the application and those of
 cation or patent under reexamination and by the                   the reference are not for substantially the same inven-
 claims in the reference are not identical but are not             tion. See In re Eickmeyer, 602 F.2d 974, 202 USPQ
 patentably distinct, a terminal disclaimer and an affi-           655 (CCPA 1979). Where, in denying an applicant’s
 davit or declaration under 37 CFR 1.130 may be used               motion in interference to substitute a broader count, it
 to overcome a rejection under 35 U.S.C. 103. See                  is held that the limitation to be deleted was material
 MPEP § 718.                                                       for the opponent patentee, this constitutes a holding
    A 37 CFR 1.131 affidavit is ineffective to over-               that the proposed count is for an invention which is
 come a United States patent or patent application pub-            not the “same patentable invention” claimed by the
 lication, not only where there is a verbatim                      reference. Therefore, the applicant may file an affida-
 correspondence between claims of the application and              vit or declaration under 37 CFR 1.131 to overcome a
 of the patent, but also where there is no patentable dis-         prior art rejection based on the reference. Adler v. Klu-
 tinction between the respective claims. In re Clark,              ver, 159 USPQ 511 (Bd. Pat. Int. 1968).
 457 F.2d 1004, 173 USPQ 359 (CCPA 1972); In re                       Form paragraph 7.58 (reproduced in MPEP § 715)
 Hidy, 303 F.2d 954, 133 USPQ 650 (CCPA 1962); In                  may be used to note such a situation in the Office
 re Teague, 254 F.2d 145, 117 USPQ 284 (CCPA                       action.
 1958); In re Ward, 236 F.2d 428, 111 USPQ 101
 (CCPA 1956); In re Wagenhorst, 62 F.2d 831, 16                    715.07       Facts and Documentary Evi-
 USPQ 126 (CCPA 1933).                                                          dence
    If the application (or patent under reexamination)
 and the domestic reference contain claims which are               GENERAL REQUIREMENTS
 identical, or which are not patentably distinct, then the            The essential thing to be shown under 37 CFR
 application and patent are claiming the “same patent-             1.131 is priority of invention and this may be done by
 able invention,” defined by 37 CFR 1.601(n) as fol-               any satisfactory evidence of the fact. FACTS, not con-
 lows:                                                             clusions, must be alleged. Evidence in the form of
     Invention “A” is the same patentable invention as an          exhibits may accompany the affidavit or declaration.
     invention “B” when invention “A” is the same as (35           Each exhibit relied upon should be specifically
     U.S.C. 102) or is obvious (35 U.S.C. 103) in view of          referred to in the affidavit or declaration, in terms of
     invention “B” assuming invention “B” is prior art with        what it is relied upon to show. For example, the alle-
     respect to invention “A.”
                                                                   gations of fact might be supported by submitting as
   As provided in 37 CFR 1.601(i), an interference                 evidence one or more of the following:
 may be declared whenever an examiner is of the opin-
                                                                       (A) attached sketches;
 ion that an application and a reference contain claims
                                                                       (B) attached blueprints;
 for the “same patentable invention.” An applicant
 who is claiming an invention which is identical to, or                (C) attached photographs;
 obvious in view of, the invention as claimed in a                     (D) attached reproductions of notebook entries;
 domestic patent or patent application publication can-                (E) an accompanying model;
 not employ an affidavit under 37 CFR 1.131 as a                       (F) attached supporting statements by witnesses,
 means for avoiding an interference with the reference.            where verbal disclosures are the evidence relied upon.
 To allow an applicant to do so would result in the issu-          Ex parte Ovshinsky, 10 USPQ2d 1075 (Bd. Pat. App.
 ance of two patents to the same invention.                        & Inter. 1989);


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                                                EXAMINATION OF APPLICATIONS                                                 715.07

     (G) testimony given in an interference. Where                       the particular date. Vague and general statements in
 interference testimony is used, the applicant must                      broad terms about what the exhibits describe along
 point out which parts of the testimony are being relied                 with a general assertion that the exhibits describe a
 on; examiners cannot be expected to search the entire                   reduction to practice “amounts essentially to mere
 interference record for the evidence. Ex parte Homan,                   pleading, unsupported by proof or a showing of facts”
 1905 C.D. 288 (Comm’r Pat. 1905);                                       and, thus, does not satisfy the requirements of 37 CFR
     (H) Disclosure documents (MPEP § 1706) may                          1.131(b). In re Borkowski, 505 F.2d 713, 184 USPQ
 be used as documentary evidence of conception.                          29 (CCPA 1974). Applicant must give a clear expla-
                                                                         nation of the exhibits pointing out exactly what facts
    Exhibits and models must comply with the require-
                                                                         are established and relied on by applicant. 505 F.2d at
 ments of 37 CFR 1.91 to be entered into an applica-
                                                                         718-19, 184 USPQ at 33. See also In re Harry, 333
 tion file. See also MPEP § 715.07(d).
                                                                         F.2d 920, 142 USPQ 164 (CCPA 1964) (Affidavit
    A general allegation that the invention was com-
                                                                         “asserts that facts exist but does not tell what they are
 pleted prior to the date of the reference is not suffi-
                                                                         or when they occurred.”).
 cient. Ex parte Saunders, 1883 C.D. 23, 23 O.G. 1224
 (Comm’r Pat. 1883). Similarly, a declaration by the                     ESTABLISHMENT OF DATES
 inventor to the effect that his or her invention was
 conceived or reduced to practice prior to the reference                    If the dates of the exhibits have been removed or
 date, without a statement of facts demonstrating the                    blocked off, the matter of dates can be taken care of in
 correctness of this conclusion, is insufficient to satisfy              the body of the oath or declaration.
 37 CFR 1.131.                                                              When alleging that conception or a reduction to
    37 CFR 1.131(b) requires that original exhibits of                   practice occurred prior to the effective date of the ref-
 drawings or records, or photocopies thereof, accom-                     erence, the dates in the oath or declaration may be the
 pany and form part of the affidavit or declaration or                   actual dates or, if the applicant or patent owner does
 their absence satisfactorily explained. In Ex parte                     not desire to disclose his or her actual dates, he or she
 Donovan, 1890 C.D. 109, 52 O.G. 309 (Comm’r Pat.                        may merely allege that the acts referred to occurred
 1890) the court stated                                                  prior to a specified date. However, the actual dates of
                                                                         acts relied on to establish diligence must be provided.
       If the applicant made sketches he should so state, and
    produce and describe them; if the sketches were made and             See MPEP § 715.07(a) regarding the diligence
    lost, and their contents remembered, they should be repro-           requirement.
    duced and furnished in place of the originals. The same
    course should be pursued if the disclosure was by means              THREE WAYS TO SHOW PRIOR INVENTION
    of models. If neither sketches nor models are relied upon,
    but it is claimed that verbal disclosures, sufficiently clear           The affidavit or declaration must state FACTS and
    to indicate definite conception of the invention, were               produce such documentary evidence and exhibits in
    made the witness should state as nearly as possible the              support thereof as are available to show conception
    language used in imparting knowledge of the invention to             and completion of invention in this country or in
    others.
                                                                         a NAFTA or WTO member country (MPEP
    However, when reviewing a 37 CFR 1.131 affidavit                     § 715.07(c)), at least the conception being at a date
 or declaration, the examiner must consider all of the                   prior to the effective date of the reference. Where
 evidence presented in its entirety, including the affida-               there has not been reduction to practice prior to the
 vits or declarations and all accompanying exhibits,                     date of the reference, the applicant or patent owner
 records and “notes.” An accompanying exhibit need                       must also show diligence in the completion of his or
 not support all claimed limitations, provided that any                  her invention from a time just prior to the date of the
 missing limitation is supported by the declaration                      reference continuously up to the date of an actual
 itself. Ex parte Ovshinsky, 10 USPQ2d 1075 (Bd. Pat.                    reduction to practice or up to the date of filing his or
 App. & Inter. 1989).                                                    her application (filing constitutes a constructive
    The affidavit or declaration and exhibits must                       reduction to practice, 37 CFR 1.131).
 clearly explain which facts or data applicant is relying                   As discussed above, 37 CFR 1.131(b) provides
 on to show completion of his or her invention prior to                  three ways in which an applicant can establish prior


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 715.07                          MANUAL OF PATENT EXAMINING PROCEDURE

 invention of the claimed subject matter. The showing           The facts to be established under 37 CFR 1.131 are
 of facts must be sufficient to show:                        similar to those to be proved in interference. The dif-
                                                             ference lies in the way in which the evidence is pre-
     (A) reduction to practice of the invention prior to     sented. If applicant disagrees with a holding that the
 the effective date of the reference; or                     facts are insufficient to overcome the rejection, his or
     (B) conception of the invention prior to the effec-     her remedy is by appeal from the continued rejection.
 tive date of the reference coupled with due diligence          See MPEP § 2138.04 through § 2138.06 for a
 from prior to the reference date to a subsequent            detailed discussion of the concepts of conception, rea-
 (actual) reduction to practice; or                          sonable diligence, and reduction to practice.
     (C) conception of the invention prior to the effec-        For the most part, the terms “conception,” “reason-
 tive date of the reference coupled with due diligence       able diligence,” and “reduction to practice” have the
 from prior to the reference date to the filing date of      same meanings under 37 CFR 1.131 as they have in
 the application (constructive reduction to practice).       interference proceedings. However, in In re Eickm-
                                                             eyer, 602 F.2d 974, 202 USPQ 655 (CCPA 1979), the
    A conception of an invention, though evidenced by        court stated:
 disclosure, drawings, and even a model, is not a com-
                                                                     The purpose of filing a [37 CFR 1.]131 affidavit is not
 plete invention under the patent laws, and confers no            to demonstrate prior invention, per se, but merely to ante-
 rights on an inventor, and has no effect on a subse-             date the effective date of a reference. See In re Moore, 58
 quently granted patent to another, UNLESS THE                    CCPA 1340, 444 F.2d 572, 170 USPQ 260 (1971).
 INVENTOR FOLLOWS IT WITH REASONABLE                              Although the test for sufficiency of an affidavit under
 DILIGENCE BY SOME OTHER ACT, such as an                          Rule 131(b) parallels that for determining priority of
                                                                  invention in an interference under 35 U.S.C. 102(g), it
 actual reduction to practice or filing an application for        does not necessarily follow that Rule 131 practice is con-
 a patent. Automatic Weighing Mach. Co. v. Pneumatic              trolled by interference law. To the contrary, “[t]he parallel
 Scale Corp., 166 F.2d 288, 1909 C.D. 498, 139 O.G.               to interference practice found in Rule 131(b) should be
 991 (1st Cir. 1909).                                             recognized as one of convenience rather than necessity.”
                                                                  Id. at 1353, 444 F.2d at 580, 170 USPQ at 267. Thus, “the
    Conception is the mental part of the inventive act,           ‘conception’ and ‘reduction to practice’ which must be
 but it must be capable of proof, as by drawings, com-            established under the rule need not be the same as what is
 plete disclosure to another person, etc. In Mergentha-           required in the ‘interference’ sense of those terms.” Id.;
 ler v. Scudder, 1897 C.D. 724, 81 O.G. 1417 (D.C.                accord, In re Borkowski, 505 F.2d 713, 718-19, 184 USPQ
 Cir. 1897), it was established that conception is more           29, 33 (CCPA 1974).
 than a mere vague idea of how to solve a problem; the          One difference is that in interference practice a
 means themselves and their interaction must be com-         reduction to practice requires a proof that a utility was
 prehended also.                                             known, whereas under 37 CFR 1.131 practice, proof
    In general, proof of actual reduction to practice        of a utility must be shown only if the reference dis-
 requires a showing that the apparatus actually existed      closes a utility. In re Wilkinson, 304 F.2d 673, 134
 and worked for its intended purpose. However, “there        USPQ 171 (CCPA 1962); In re Moore, 444 F.2d 572,
 are some devices so simple that a mere construction         170 USPQ 260 (CCPA 1971). Where proof of utility
 of them is all that is necessary to constitute reduction    is required, whether or not test results are required to
 to practice.” In re Asahi/America Inc., 94-1249 (Fed.       establish the utility of the subject matter in question
 Cir. 1995) (Citing Newkirk v. Lulegian, 825 F.2d            depends on the facts of each case. The ultimate issue
 1581, 3USPQ2d 1793 (Fed. Cir. 1987) and Sachs v.            is whether the evidence is such that one of ordinary
 Wadsworth, 48 F.2d 928, 929, 9 USPQ 252, 253                skill in the art would be satisfied to a reasonable cer-
 (CCPA 1931). The claimed restraint coupling held            tainty that the subject matter necessary to antedate the
 to be so simple a device that mere construction of it       reference possessed the alleged utility. In re Blake,
 was sufficient to constitute reduction to practice. Pho-    358 F.2d 750, 149 USPQ 217 (CCPA 1966). Also, in
 tographs, coupled with articles and a technical report      interference practice, conception, reasonable dili-
 describing the coupling in detail were sufficient to        gence, and reduction to practice require corroboration,
 show reduction to practice.).                               whereas averments made in a 37 CFR 1.131 affidavit


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 or declaration do not require corroboration; an appli-      tion under 37 CFR 1.131. See Ex parte Merz,
 cant may stand on his or her own affidavit or declara-      75 USPQ 296 (Bd. App. 1947).
 tion if he or she so elects. Ex parte Hook, 102 USPQ           Form paragraph 7.62 (reproduced in MPEP § 715)
 130 (Bd. App. 1953).                                        may be used to respond to a 37 CFR 1.131 affidavit
    Form paragraph 7.59 or 7.63 (both reproduced in          where diligence is lacking.
 MPEP § 715) may be used where insufficient evi-
 dence is included in a 37 CFR 1.131 affidavit.
                                                             715.07(b) Interference Testimony Some-
                                                                       times Used
 715.07(a) Diligence
                                                                In place of an affidavit or declaration the testimony
    Where conception occurs prior to the date of the         of the applicant in an interference may be sometimes
 reference, but reduction to practice is afterward, it is    used to antedate a reference in lieu of 37 CFR 1.131
 not enough merely to allege that applicant or patent        affidavit or declaration.
 owner had been diligent. Ex parte Hunter, 1889 C.D.            The part of the testimony to form the basis of prior-
 218, 49 O.G. 733 (Comm’r Pat. 1889). Rather, appli-         ity over the reference should be pointed out. Ex parte
 cant must show evidence of facts establishing dili-         Bowyer, 1939 C.D. 5, 42 USPQ 526 (Comm’r Pat.
 gence.                                                      1939).
    In determining the sufficiency of a 37 CFR 1.131
                                                             715.07(c) Acts Relied Upon Must Have
 affidavit or declaration, diligence need not be consid-
 ered unless conception of the invention prior to the                  Been Carried Out in This Coun-
 effective date is clearly established, since diligence                try or a NAFTA or WTO Mem-
 comes into question only after prior conception is                    ber Country
 established. Ex parte Kantor, 177 USPQ 455 (Bd.
 App. 1958).                                                 35 U.S.C. 104. Invention Made Abroad.
                                                                   (a) IN GENERAL.—
    What is meant by diligence is brought out in
                                                                      (1) PROCEEDINGS.—In proceedings in the Patent and
 Christie v. Seybold, 1893 C.D. 515, 64 O.G. 1650 (6th       Trademark Office, in the courts, and before any other competent
 Cir. 1893). In patent law, an inventor is either diligent   authority, an applicant for a patent, or a patentee, may not estab-
 at a given time or he is not diligent; there are no         lish a date of invention by reference to knowledge or use thereof,
 degrees of diligence. An applicant may be diligent          or other activity with respect thereto, in a foreign country other
 within the meaning of the patent law when he or she is      than a NAFTA country or a WTO member country, except as pro-
                                                             vided in sections 119 and 365 of this title.
 doing nothing, if his or her lack of activity is excused.            (2) RIGHTS.—If an invention was made by a person,
 Note, however, that the record must set forth an expla-     civil or military—
 nation or excuse for the inactivity; the USPTO or                       (A) while domiciled in the United States, and serving
 courts will not speculate on possible explanations for      in any other country in connection with operations by or on behalf
 delay or inactivity. See In re Nelson, 420 F.2d 1079,       of the United States,
                                                                         (B) while domiciled in a NAFTA country and serving
 164 USPQ 458 (CCPA 1970). Diligence must be
                                                             in another country in connection with operations by or on behalf
 judged on the basis of the particular facts in each case.   of that NAFTA country, or
 See MPEP § 2138.06 for a detailed discussion of the                     (C) while domiciled in a WTO member country and
 diligence requirement for proving prior invention.          serving in another country in connection with operations by or on
    Under 37 CFR 1.131, the critical period in which         behalf of that WTO member country, that person shall be entitled
                                                             to the same rights of priority in the United States with respect to
 diligence must be shown begins just prior to the effec-
                                                             such invention as if such invention had been made in the United
 tive date of the reference or activity and ends with the    States, that NAFTA country, or that WTO member country, as the
 date of a reduction to practice, either actual or con-      case may be.
 structive (i.e., filing a United States patent applica-              (3) USE OF INFORMATION.—To the extent that any
 tion). Note, therefore, that only diligence before          information in a NAFTA country or a WTO member country con-
 reduction to practice is a material consideration. The      cerning knowledge, use, or other activity relevant to proving or
                                                             disproving a date of invention has not been made available for use
 “lapse of time between the completion or reduction to       in a proceeding in the Patent and Trademark Office, a court, or
 practice of an invention and the filing of an applica-      any other competent authority to the same extent as such informa-
 tion thereon” is not relevant to an affidavit or declara-   tion could be made available in the United States, the Director,



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 715.07(d)                              MANUAL OF PATENT EXAMINING PROCEDURE

 court, or such other authority shall draw appropriate inferences, or       Review of questions of formal sufficiency and pro-
 take other action permitted by statute, rule, or regulation, in favor   priety are by petition. Such petitions are answered
 of the party that requested the information in the proceeding.
                                                                         by the Technology Center Directors (MPEP
       (b) DEFINITIONS.—As used in this section—
                                                                         § 1002.02(c)).
          (1) The term “NAFTA country” has the meaning given
 that term in section 2(4) of the North American Free Trade Agree-          Review on the merits of a 37 CFR 1.131 affidavit
 ment Implementation Act; and                                            or declaration is by appeal to the Board of Patent
          (2) The term “WTO member country” has the meaning              Appeals and Interferences.
 given that term in section 2(10) of the Uruguay Round Agree-
 ments Act.                                                              715.09       Seasonable Presentation
    The 37 CFR 1.131 affidavit or declaration must                          Affidavits or declarations under 37 CFR 1.131 must
 contain an allegation that the acts relied upon to estab-               be timely presented in order to be admitted. Affidavits
 lish the date prior to the reference or activity were car-              and declarations submitted under 37 CFR 1.131 and
 ried out in this country or in a NAFTA country or                       other evidence traversing rejections are considered
 WTO member country. See 35 U.S.C. 104.                                  timely if submitted:
    Under 37 CFR 1.131(a), which provides for the
                                                                             (A) prior to a final rejection;
 establishment of a date of completion of the invention
                                                                             (B) before appeal in an application not having a
 in a NAFTA or WTO member country, as well as in
                                                                         final rejection; or
 the United States, an applicant can establish a date of
                                                                             (C) after final rejection and submitted
 completion in a NAFTA member country on or after
                                                                                (1) with a first reply after final rejection for the
 December 8, 1993, the effective date of section 331 of
                                                                         purpose of overcoming a new ground of rejection or
 Public Law 103-182, the North American Free Trade
                                                                         requirement made in the final rejection, or
 Agreement Act, and can establish a date of comple-
 tion in a WTO member country other than a NAFTA                                (2) with a satisfactory showing under 37 CFR
 member country on or after January 1, 1996, the                         1.116(b) or 37 CFR 1.195, or
 effective date of section 531 of Public Law 103-465,                           (3) under 37 CFR 1.129(a).
 the Uruguay Round Agreements Act. Acts occurring                           All admitted affidavits and declarations are
 prior to the effective dates of NAFTA or URAA may                       acknowledged and commented upon by the examiner
 be relied upon to show completion of the invention;                     in his or her next succeeding action.
 however, a date of completion of the invention may                         For affidavits or declarations under 37 CFR 1.131
 not be established under 37 CFR 1.131 before Decem-                     filed after appeal, see 37 CFR 1.195 and MPEP
 ber 8, 1993 in a NAFTA country or before January 1,                     § 1211.02.
 1996 in a WTO country other than a NAFTA country.                          Review of an examiner’s refusal to enter an affida-
                                                                         vit as untimely is by petition and not by appeal to the
 715.07(d) Disposition of Exhibits                                       Board of Patent Appeals and Interferences. In re
    Exhibits, such as those filed as part of an affidavit                Deters, 515 F.2d 1152, 185 USPQ 644 (CCPA 1975);
 or declaration under 37 CFR 1.131, must comply with                     Ex parte Hale, 49 USPQ 209 (Bd. App. 1941). See
 the requirements of 37 CFR 1.91 to be entered into an                   MPEP § 715.08 regarding review of questions of pro-
 application file. Exhibits that do not comply with the                  priety of 37 CFR 1.131 affidavits and declarations.
 requirements of 37 CFR 1.91 will be disposed of or                      715.10       Review of Affidavit or Declara-
 returned to applicant at the discretion of the Office.
 See also MPEP § 608.03(a).                                                           tion for Evidence of Prior Public
                                                                                      Use or Sale or Failure to Disclose
 715.08          Passed Upon by Primary Exam-                                         Best Mode
                 iner
                                                                           Any affidavits or declarations submitted under 37
    The question of sufficiency of affidavits or declara-                CFR 1.131 and the accompanying evidence must be
 tions under 37 CFR 1.131 should be reviewed and                         reviewed carefully by the examiner in order to deter-
 decided by a primary examiner.                                          mine whether they show that the claimed invention


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                                                EXAMINATION OF APPLICATIONS                                                            716

 was “in public use” or “on sale” in this country more                 ¶ 7.65 Affidavit or Declaration Under 37 CFR 1.132:
 than one year prior to the effective filing date of the               Effective To Withdraw Rejection
 application, which acts constitute a statutory bar                       The [1] under 37 CFR 1.132 filed [2] is sufficient to overcome
                                                                       the rejection of claim [3] based upon [4].
 under 35 U.S.C. 102(b). Although the rejection based
 on the reference(s) or activity sought to be antedated                Examiner Note:
 may actually be overcome by such an affidavit or dec-                 1. In bracket 1, insert either --affidavit-- or --declaration--.
 laration, the effect of the applicant’s prior “public                 2. In bracket 2, insert the filing date of the affidavit or declara-
 use” or “on sale” activities may not be overcome                      tion.
                                                                       3. In bracket 3, insert the affected claim or claims.
 under 37 CFR 1.131. See MPEP § 2133.03 regarding
                                                                       4. In bracket 4, indicate the rejection that has been overcome,
 rejections based on “public use” and “on sale” statu-                 including the statutory grounds, e.g.: insufficiency of disclosure
 tory bars.                                                            under 35 U.S.C. 112, first paragraph; lack of utility under 35
    Where the 37 CFR 1.131 evidence relies on an                       U.S.C. 101; inoperativeness under 35 U.S.C. 101; a specific refer-
 embodiment of the invention not disclosed in the                      ence applied under 35 U.S.C. 103; etc. See MPEP § 716.
 application, the question of whether the application                  ¶ 7.66 Affidavit or Declaration Under 37 CFR 1.132:
 includes the “best mode” must be considered. How-                     Insufficient
 ever, a “best mode” rejection should not be made                         The [1] under 37 CFR 1.132 filed [2] is insufficient to over-
 unless the record, taken as a whole, establishes by a                 come the rejection of claim [3] based upon [4] as set forth in the
 preponderance of the evidence that applicant's specifi-               last Office action because:
 cation has not set forth the best mode contemplated by                Examiner Note:
 the inventor of carrying out the invention. See MPEP                  1. In bracket 1, insert either --affidavit-- or --declaration--.
 § 2165 - § 2165.04 regarding the best mode require-                   2. In bracket 2, insert the filing date of the affidavit or declara-
 ment of the first paragraph of 35 U.S.C. 112.                         tion.
                                                                       3. In bracket 3, insert the claim or claims affected.
 716        Affidavits or Declarations Travers-                        4. In bracket 4, indicate the rejection that has not been over-
            ing Rejections, 37 CFR 1.132                               come, including the statutory grounds, i.e.: insufficiency of dis-
                                                                       closure under 35 U.S.C. 112, first paragraph; lack of utility and/or
                                                                       inoperativeness under 35 U.S.C. 101; a specific reference applied
 37 CFR 1.132. Affidavits or declarations traversing
                                                                       under 35 U.S.C. 103; etc. See MPEP § 716.
 rejections or objections.                                             5. Following this form paragraph, set forth the reasons for the
    When any claim of an application or a patent under reexamina-      insufficiency; e.g., categories include: --untimely--; --fails to set
 tion is rejected or objected to, any evidence submitted to traverse   forth facts--; --facts presented are not germane to the rejection at
 the rejection or objection on a basis not otherwise provided for      issue--;--showing is not commensurate in scope with the claims--;
 must be by way of an oath or declaration under this section.          etc. See MPEP § 716. Also include a detailed explanation of the
                                                                       reasons why the affidavit or declaration is insufficient. Any of
    It is the responsibility of the primary examiner to                form paragraphs 7.66.01 - 7.66.05 may be used, as appropriate.
 personally review and decide whether affidavits or
 declarations submitted under 37 CFR 1.132 for the                     ¶ 7.66.01 Reason Why Affidavit or Declaration Under 37
 purpose of traversing grounds of rejection are respon-                CFR 1.132 Is Insufficient: Affiant Has Never Seen
 sive to the rejection and present sufficient facts to                 Invention Before
                                                                          It includes statements which amount to an affirmation that the
 overcome the rejection.
                                                                       affiant has never seen the claimed subject matter before. This is
    This rule sets forth the general policy of the Office              not relevant to the issue of nonobviousness of the claimed subject
 consistently followed for a long period of time of                    matter and provides no objective evidence thereof. See MPEP §
 receiving affidavit evidence traversing rejections or                 716.
 objections. All affidavits or declarations presented                  Examiner Note:
 which do not fall within or under other specific rules                1. This form paragraph must be preceded by form paragraph
 are to be treated or considered as falling under this                 7.66.
 rule.                                                                 2. A full explanation must be provided, if appropriate.
    Form paragraph 7.65 or 7.66 and any of form para-                  ¶ 7.66.02 Reason Why Affidavit or Declaration Under 37
 graphs 7.66.01 through 7.66.05, as appropriate,                       CFR 1.132 Is Insufficient: Invention Works as Intended
 should be used to comment on a 37 CFR 1.132 affi-                        It includes statements which amount to an affirmation that the
 davit or declaration.                                                 claimed subject matter functions as it was intended to function.



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                      EXHIBIT 4
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                      EXHIBIT 5
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                    REDACTED IN
                    ITS ENTIRETY




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